3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 344-5   Page 1 of 29




                            Exhibit 5
                                           3:21-cv-03302-MGL-TJH-RMG                        Date Filed 09/02/22             Entry Number 344-5                 Page 2 of 29




                                                Sequential Monte Carlo for Sampling Balanced and Compact
                                                                   Redistricting Plans*
                                                                                    Cory McCartan†                    Kosuke Imai‡

                                                                                             First Draft: July 6, 2020
                                                                                             This Draft: June 14, 2022
arXiv:2008.06131v4 [stat.AP] 12 Jun 2022




                                                                                                        Abstract
                                                      Random sampling of graph partitions under constraints has become a popular tool for evaluating legisla-
                                                  tive redistricting plans. Analysts detect partisan gerrymandering by comparing a proposed redistricting plan
                                                  with an ensemble of sampled alternative plans. For successful application, sampling methods must scale to
                                                  large maps with many districts, incorporate realistic legal constraints, and accurately and efficiently sample
                                                  from a selected target distribution. Unfortunately, most existing methods struggle in at least one of these
                                                  areas. We present a new Sequential Monte Carlo (SMC) algorithm that generates a sample of redistricting
                                                  plans converging to a realistic target distribution. Because it draws many plans in parallel, the SMC algorithm
                                                  can efficiently explore the relevant space of redistricting plans better than the existing Markov chain Monte
                                                  Carlo (MCMC) algorithms that generate plans sequentially. Our algorithm can simultaneously incorporate
                                                  several constraints commonly imposed in real-world redistricting problems, including equal population, com-
                                                  pactness, and preservation of administrative boundaries. We validate the accuracy of the proposed algorithm
                                                  by using a small map where all redistricting plans can be enumerated. We then apply the SMC algorithm
                                                  to evaluate the partisan implications of several maps submitted by relevant parties in a recent high-profile
                                                  redistricting case in the state of Pennsylvania. We find that the proposed algorithm converges to the target
                                                  distribution faster and with fewer samples than a state-of-the-art MCMC algorithm. Open-source software is
                                                  available for implementing the proposed methodology.

                                                  Key Words: gerrymandering, graph partition, importance sampling, spanning trees




                                               * We thank Ben Fifield, Greg Herschlag, Mike Higgins, Chris Kenny, Jonathan Mattingly, Justin Solomon, and Alex Tarr for helpful

                                           comments and conversations. Imai thanks Yunkyu Sohn for his contributions at an initial phase of this project. Open-source software is
                                           available for implementing the proposed methodology (Kenny et al., 2020).
                                               †
                                                 Ph.D. candidate, Department of Statistics, Harvard University.            1 Oxford Street, Cambridge 02138.               Email:
                                           cmccartan@g.harvard.edu
                                               ‡
                                                 Professor, Department of Government and Department of Statistics, Harvard University. 1737 Cambridge Street, Institute for Quan-
                                           titative Social Science, Cambridge 02138. Email: imai@harvard.edu, URL: https://imai.fas.harvard.edu/
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 09/02/22          Entry Number 344-5            Page 3 of 29



1    Introduction
In first-past-the-post electoral systems, legislative districts serve as the fundamental building block of democratic
representation. In the United States, congressional redistricting, which redraws district boundaries in each state
following the decennial Census, plays a central role in influencing who is elected and hence what policies are
eventually enacted. Because the stakes are so high, redistricting has been subject to intense political battles.
Parties often engage in gerrymandering by manipulating district boundaries in order to amplify the voting power
of some groups while diluting that of others.
     In recent years, the availability of granular data about individual voters has led to sophisticated partisan
gerrymandering attempts that cannot be easily detected. At the same time, many scholars have focused their
efforts on developing methods to uncover gerrymandering by comparing a proposed redistricting plan with a
large collection of alternative plans that satisfy the relevant legal requirements. A primary advantage of such an
approach over the use of simple summary statistics is its ability to account for the characteristics of each state’s
physical and political geography and state-specific redistricting rules.
     For its successful application, a sampling algorithm for drawing alternative plans must (1) be efficient enough
to scale to large maps with thousands of geographic units and many districts, (2) simultaneously incorporate
a variety of real-world legal constraints such as population balance (Section 3.1), geographical compactness
(Section 3.3), and the preservation of administrative boundaries (Section 4.5), and (3) ensure these samples are
representative of a specific target population, against which a redistricting plan of interest can be evaluated.
Although some have been used in several recent court challenges to existing redistricting plans, all existing
algorithms run into limitations of varying severity with regards to at least one of these three key requirements.
     Optimization-based (e.g., Mehrotra et al., 1998; Macmillan, 2001; Bozkaya et al., 2003; Liu et al., 2016) and
constructive Monte Carlo (e.g., Cirincione et al., 2000; Chen and Rodden, 2013; Magleby and Mosesson, 2018)
methods can be made scalable and incorporate many constraints. But they are not designed to sample from any
specific target distribution. As a consequence, the resulting plans tend to differ systematically, for example, from
a uniform distribution under certain constraints (Cho and Liu, 2018; Fifield et al., 2020a,b). The absence of an
explicit target distribution makes it difficult to interpret the ensembles generated by these methods and use them
for statistical outlier analysis to detect gerrymandering.
     MCMC algorithms (e.g., Mattingly and Vaughn, 2014; Wu et al., 2015; Chikina et al., 2017; DeFord et al.,
2021; Carter et al., 2019; Fifield et al., 2020a) can in theory sample from a specific target distribution, and
incorporate constraints through the use of an energy function. In practice, however, existing algorithms struggle
to mix and traverse through a highly complex sampling space, making scalability difficult and accuracy hard
to prove. Some of these algorithms make proposals by flipping precincts at the boundary of existing districts
(e.g., Mattingly and Vaughn, 2014; Fifield et al., 2020a), rendering it difficult or even impossible to transition
between points in the state space, especially as more constraints are imposed. More recent algorithms by DeFord
et al. (2021) and Carter et al. (2019) use spanning trees to make their proposals, and this has allowed these
algorithms to yield more global moves and greatly improve mixing. Yet recent theoretical results suggest that
even these larger moves may not be enough to traverse the entire state space, and therefore converge to the correct
distribution, if a realistic population balance constraint is imposed (Akitaya et al., 2022).
     In Sections 3 and 4, we present a new Sequential Monte Carlo (SMC) algorithm, based on a similar but not
identical spanning tree construction to DeFord et al. (2021) and Carter et al. (2019), that addresses the above
three key challenges. Like MCMC algorithms, the SMC algorithm generates samples which approximate the
target distribution arbitrarily well as the sample size increases. But like constructive Monte Carlo methods, the
SMC algorithm draws many separate plans from scratch, rather than tweaking a single plan sequentially. This
approach is better suited to the large discrete state space with a multimodal target distribution that characterizes
redistricting problems. In cases where existing MCMC proposals render the state space disconnected, the SMC
algorithm can still converge to the target distribution. As we demonstrate in Sections 5 and 6, this sampling
approach translates to faster convergence and smaller standard errors for a given computational budget. For large
and complex redistricting sampling problems, the SMC algorithm can be easily parallelized.
     The proposed algorithm proceeds by splitting off one district at a time, building up the redistricting plan piece
by piece (see Figure 2 for an illustration). Each split is accomplished by drawing a spanning tree and removing

                                                          1
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 09/02/22          Entry Number 344-5            Page 4 of 29



one edge, which splits the spanning tree in two. We also extend the SMC algorithm so that it preserves admin-
istrative boundaries and certain geographical areas as much as possible, which is another common constraint
considered in many real-world redistricting cases. An open-source software package, redist, is available for
implementing the proposed algorithm (Kenny et al., 2020).
     Like existing MCMC approaches, the SMC algorithm only guarantees convergence to the target distribution
as the sample size approaches infinity. Thus it is important to understand the limitations of the proposed algorithm
in finite samples. In Section 4.4.4, we provide a set of diagnostics which can be used in practice to help identify
if more samples are needed to reach convergence or if the constraints imposed by an analyst are too strong.
In Section 5, we validate the SMC algorithm using a small map for which all potential redistricting plans can
be enumerated (Fifield et al., 2020b). We demonstrate that the proposed algorithm samples accurately from a
realistic target distribution on these plans and does so more efficiently than a state-of-the-art MCMC algorithm.
Section 6 applies the SMC algorithm to the 2011 Pennsylvania congressional redistricting, and compares its
performance on this problem with the existing approaches. We find that the proposed SMC algorithm is again
more efficient in sampling than the existing MCMC algorithm. Section 7 concludes and discusses directions for
future work.

2     The 2011 Pennsylvania Congressional Redistricting
We study the 2011 Pennsylvania congressional redistricting because it illustrates the salient features of the re-
districting problem. We begin by briefly summarizing the background of this case and then explain the role of
sampling algorithms used in the expert witness reports.
2.1   Background
Pennsylvania lost a seat in Congress during the reapportionment of the 435 U.S. House seats following the 2010
Census. In Pennsylvania, the General Assembly, which is the state’s legislative body, draws new congressional
districts, subject to gubernatorial veto. At the time, the General Assembly was controlled by Republicans, and
Tom Corbett, also a Republican, served as governor. In the 2012 election, which took place under the newly
adopted 2011 districting map, Democrats won 5 seats while Republicans took the remaining 13. Under the
previous plan, the split was 7–12.
     In June 2017, the League of Women Voters of Pennsylvania filed a lawsuit alleging that the 2011 plan adopted
by the Republican legislature violated the state constitution by diluting the political power of Democratic voters.
The case worked its way through the state court system, and on January 22, 2018, the Pennsylvania Supreme
Court issued its ruling, writing that the 2011 plan “clearly, plainly and palpably violates the Constitution of the
Commonwealth of Pennsylvania, and, on that sole basis, we hereby strike it as unconstitutional.” (League of
Women Voters v. Commonwealth, 2018).
     The court ordered that the General Assembly adopt a remedial plan and submit it to the governor, who would
in turn submit it to the court, by February 15, 2018. In its ruling, the court laid out specific requirements that had
to be satisfied by all proposed plans:

      composed of compact and contiguous territory; as nearly equal in population as practicable; and
      which do not divide any county, city, incorporated town, borough, township, or ward, except where
      necessary to ensure equality of population.

    The leaders of the Republican Party in the General Assembly drew a new map, but the Democratic governor,
Tom Wolf, refused to submit it to the court, claiming that it, too, was an unconstitutional gerrymander. Instead,
the court received remedial plans from seven parties: the petitioners, the League of Women Voters; the respon-
dents, the Republican leaders of the General Assembly; the governor, a Democrat; the lieutenant governor, also
a Democrat; the Democratic Pennsylvania House minority leadership; the Democratic Pennsylvania Senate mi-
nority leadership; and the intervenors, which included Republican party candidates and officials. Ultimately, the
Supreme Court drew its own plan and adopted it on February 19, 2018, arguing that it was “superior or compa-
rable to all plans submitted by the parties.” Figure 1 shows the remedial plan created by the Supreme Court as
well as the 2011 map adopted by the General Assembly, which were found on the court’s case page.


                                                          2
3:21-cv-03302-MGL-TJH-RMG                 Date Filed 09/02/22        Entry Number 344-5           Page 5 of 29




             (a) 2011 General Assembly map                       (b) 2018 Pennsylvania Supreme Court map

Figure 1: Comparison of the 2011 map drawn by the General Assembly and the final map imposed by the
Supreme court in 2018. County lines are shown in dark gray, and district boundaries that do not coincide with
county boundaries are in white.


    The constraints explicitly laid out by the court, as well as the numerous remedial plans submitted by the
parties, make the 2011 Pennsylvania redistricting a useful case study that evaluates redistricting plans.
2.2   The Role of Sampling Algorithms
The original finding that the 2011 General Assembly plan was a partisan gerrymander was in part based on
different outlier analyses performed by two academic researchers, Jowei Chen and Wesley Pegden, who served
as the petitioner’s expert witnesses. Chen randomly generated two sets of 500 redistricting plans according to
a constructive Monte Carlo algorithm based on Chen and Rodden (2013). He considered population balance,
contiguity, compactness, avoiding county and municipal splits, and, in the second set of 500, avoiding plans that
placed more than two incumbents in the same district (at least one pair of incumbents in the same district was
necessary, given that Pennsylvania lost a seat from 2000 to 2010). Pegden ran a reversible Markov chain similar
to that used in the MCMC algorithm of Mattingly and Vaughn (2014) for one trillion steps, and computed upper
bounds of p-values using the method of Chikina et al. (2017). This method was also used in a follow-up analysis
by Moon Duchin, who served as an expert for Governor Wolf (Duchin, 2018). Both petitioner experts concluded
that the 2011 plan was an extreme outlier according to compactness, county and municipal splits, and the number
of Republican and Democratic seats implied by statewide election results.
     The respondents also retained an expert academic witness, Wendy Tam Cho, who directly addressed the
sampling-based analyses of Chen and Pegden. Cho criticized Chen’s analysis for not sampling from a specified
target distribution. She also criticized Pedgen’s analysis by arguing that his Markov chain only made local
explorations of the space of redistricting plans, and could not therefore have generated a representative sample
of all valid plans, though the p-values computed using the Chikina et al. (2017) method explicitly do not require
mixing of the Markov chain (see also Cho and Rubinstein-Salzedo, 2019, and Chikina et al. (2019)). We do not
directly examine the intellectual merits of the specific arguments put forth by the expert witnesses. However,
these methodological debates are also relevant for other cases where simulation algorithms have been extensively
used by expert witnesses (e.g., Rucho v. Common Cause (2019); Common Cause v. Lewis (2019); Covington
v. North Carolina (2017); Harper v. Lewis (2020)), and highlight the difficulties in practically applying existing
sampling algorithms to actual redistricting problems.
     First, the distributions that some of these algorithms sample from are not made explicit, leaving open the
possibility that the generated ensemble is systematically different from the true set of all valid plans. Second,
even when the distribution is known, MCMC algorithms used to sample from it may be prohibitively slow to mix
and cannot yield a representative sample. These challenges motivate us to design an algorithm that accurately
samples from a specific target distribution and incorporates most common redistricting constraints, while being
efficient and scalable.




                                                        3
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 09/02/22         Entry Number 344-5            Page 6 of 29



3     Sampling Balanced and Compact Districts
3.1   The Setup
Redistricting plans are ultimately aggregations of geographic units such as counties, voting precincts, or Census
blocks. The usual requirement that the districts in a plan be contiguous necessitates consideration of the spatial
relationship between these units. The natural mathematical structure for this consideration is a graph G =
(V, E), where V = {v1 , v2 , . . . , vm } consists of m nodes representing the geographic units of redistricting and
E contains edges connecting units which are legally adjacent.
    A labeled redistricting plan on G consists of n districts, where each district is a collection of nodes. A
labeled plan is described by a function ξ : V → {1, 2, . . . , n}, where ξ(v) = i implies that node v is in
district i. In practice, we will be interested in unlabeled plans, since the assignment of sets of precincts to
labels is arbitrary and has no impact on the real-world aspects of the district such as its population, demographic
composition, or partisan lean. Define an equivalence relation ∼     = by ξ1 ∼
                                                                            = ξ2 if there exists a permutation σ such
that ξ1 (v) = σ(ξ2 (v)) for all v. Then an unlabeled redistricting plan can be viewed as an equivalence class under
∼
=, denoted [ξ]; nothing in what follows will depend on the particular labeled plan representative ξ.
    We let Vi (ξ) and Ei (ξ) denote the nodes and edges contained in district i under a given redistricting plan
ξ, so Gi (ξ) = (Vi (ξ), Ei (ξ)) represents the induced subgraph that corresponds to district i under the plan. We
suppress the dependence on ξ when  Sn it is clear from context,
                                                            T     writing Gi = (Vi , Ei ). Since each node belongs to
only one district, we have V = i=1 Vi (ξ) and Vi (ξ) Vi0 (ξ) = ∅ for any redistricting plan ξ. In addition, we
require that each district be contiguous, i.e., that Gi is a connected graph, for all i.
    Beyond connectedness, redistricting plans are always required to have roughly equal population in every
district. To formalize this requirement, let P  pop(v) denote the population of node v. Then the population of a
district i may be written as pop(Vi (ξ)) :=        v∈Vi (ξ) pop(v). We quantify the discrepancy between a given plan
and the ideal of equal population in every district by the maximum population deviation,

                                                              pop(Vi )
                                       dev(ξ) := max                   −1 ,
                                                    1≤i≤n    pop(V )/n

where pop(V ) is the total population. Some courts and states have imposed hard maximums on this quantity,
e.g., dev(ξ) ≤ D = 0.05 for state legislative redistricting (National Conference of State Legislatures, 2021).
    The proposed algorithm samples plans by way of spanning trees on each district, i.e., subgraphs of Gi (ξ)
which contain all vertices, no cycles, and are connected. Let Ti represent a spanning tree for district i whose
vertices and edges are given by Vi (ξ) and a subset of Ei (ξ), respectively. The collection of spanning trees from
all districts together form a spanning forest. Each node belongs to one spanning tree in the forest, and this
assignment corresponds to a redistricting plan. However, a single redistricting plan may correspond to multiple
spanning forests because each district may admit more than one spanning tree.
    For a given redistricting plan, we can compute the exact number of spanning forests in polynomial time using
the determinant of a submatrix of the graph Laplacian, according to the Matrix Tree Theorem of Kirchhoff (see
Tutte (1984)). Thus, for a graph H, if we let τ (H) denote the number of spanning trees on theQgraph, we can
represent the number of spanning forests that correspond to a redistricting plan ξ as τ (ξ) := ni=1 τ (Gi (ξ)).
This fact will play an important role in the definition of our sampling algorithm and its target distribution.
3.2   The Target Distribution
The algorithm is designed to sample an unlabeled plan [ξ] with probability

                              π([ξ]) ∝ exp{−J(ξ)}τ (ξ)ρ 1{ξ connected} 1{dev(ξ)≤D} ,                             (1)

where the indicator functions ensure that the plans meet population balance and connectedness criteria, τ (ξ)
measures the compactness of the districts in ξ (see Section 3.3), and J encodes additional constraints on the
types of plans preferred. As done in Section 6, we often use a reasonably strict population constraint such as
D = 0.001. The parameter ρ ∈ R+  0 is chosen to control the compactness of the generated plans.



                                                         4
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 09/02/22                   Entry Number 344-5                            Page 7 of 29



    This target distribution π has both substantive and theoretical justifications. First, it incorporates two con-
straints which are almost always present in real-world redistricting: the support of π is restricted to contiguous
plans and those that meet a population deviation threshold. Second, it represents the unique maximum entropy
distribution on the set of redistricting plans satisfying these two universal constraints and the moment conditions
implied by the other constraints, i.e., Eπ [log τ (ξ)] = µτ and Eπ [J(ξ)] = µJ for some constants µτ and µJ (see
Cover and Thomas, 2006, Theorem. 12.1.1, originally of Boltzmann).
    Thus, our target distribution ensures that all plans meet contiguity and population requirements, and on
average satisfy a compactness standard as well as any other additional constraints (through the function J). It is
no surprise, therefore, that this class of target distributions has been used by other work developing redistricting
sampling algorithms (Herschlag et al., 2017; Fifield et al., 2020a).
    The generality of the additional constraint function J is intentional, as its exact form and number imposed
on the redistricting process varies by state and by the type of districts being drawn; any type of constraint may be
incorporated by choosing a J which is small for preferred plans and large otherwise. For example, a preference
for plans close to an existing plan ξsq may be encoded as
                                                       n
                          β                       β    X       Pij
                                                                                
                                                                                         Pij
                                                                                                                 
                                                                                                                         Pij
                                                                                                                                    
          Jsq (ξ) = −         VI(ξ, ξsq ) := −               pop(V )       log       pop(Vj (ξsq ))       + log       pop(Vj (ξ))        ,   (2)
                        log n                  2 log n
                                                     i,j=1

where β ∈ R+ controls the strength of the constraint and Pij = pop(Vi (ξ) ∩ Vj (ξsq )) is the population shared
between district i of ξ and j of ξsq . The function VI(·, ·) represents the variation of information (also known as the
shared information distance), which is the difference between the joint entropy and the mutual information of the
distribution of population over the new districts ξ relative to the existing districts ξsq (Cover and Thomas, 2006).
When ξ is any relabeling of ξsq , then Jsq (ξ) = 0. In contrast, when ξ evenly splits the nodes of each district of
ξsq among the districts of ξ, then Jsq (ξ) = β. This distance measure will prove useful later in quantifying the
diversity of a sample of redistricting plans (see also Guth et al., 2020).
     There exist other formulations of constraints, and considerations in choosing a set of weights that balance
constraints against each other (see e.g., Bangia et al., 2017; Herschlag et al., 2017; Fifield et al., 2020a). Here,
we focus on sampling from the broad class of distributions characterized by Equation (1), which have been used
in other work; we do not address the important but separate problem of picking a specific instance of this class
for a given redistricting problem.
     The flexibility of J can be deceptive, however. The algorithm operates efficiently only when the additional
constraints imposed by J are not too severe. Even a small number of strong constraints incorporated into J can
dramatically limit the number of valid plans and considerably complicate the process of sampling. The Markov
chain algorithms developed to date partially avoid this problem by moving toward maps with lower J over a
number of steps, but in general including more constraints makes it even more difficult to transition between
valid redistricting plans. Approaches such as simulated annealing (Bangia et al., 2017; Herschlag et al., 2017)
and parallel tempering (Fifield et al., 2020a) have been proposed to handle multiple constraints, but these can be
difficult to calibrate in practice and provide few, if any, theoretical guarantees.
     In practice, we usually find that the most stringent constraints are those involving population deviation, com-
pactness, and administrative boundary splits. As shown later, we address this issue by designing our algorithm
to directly satisfy these constraints. Weak additional constraints do not generally have a substantial effect on
the sampling efficiency, though there are exceptions. Monitoring the distribution of the weights and the overall
sampling efficiency is crucial to obtaining a good sample, as we discuss later.
3.3   Spanning Forests and Compactness
One common redistricting requirement is that districts be geographically compact, though nearly every state
leaves this term undefined. Dozens of numerical compactness measures have been proposed, with the Polsby–
Popper score (Polsby and Popper, 1991) perhaps the most popular. Defined as the ratio of a district’s area to that
of a circle with the same perimeter as the district, the Polsby–Popper score is constrained to [0, 1], with higher
scores indicating more compactness.


                                                             5
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 09/02/22          Entry Number 344-5             Page 8 of 29



    Other scholars have proposed a graph-theoretic measure known as edge-cut compactness (Dube and Clark,
2016; DeFord et al., 2021). This measure counts the number of edges that must be removed from the original
graph to partition it according to a given plan. Formally, it is defined as
                                                            Pn
                                                                   |Ei (ξ)|
                                          rem(ξ) := 1 − i=1                 ,
                                                                |E(G)|

where we have normalized to the total number of edges.
    Plans that involve cutting many edges will necessarily have long internal boundaries, driving up their average
district perimeter (and driving down their Polsby–Popper scores), while plans that cut as few edges as possible
will have relatively short internal boundaries and much more compact districts. Additionally, given the high
density of voting units in urban areas, plans which cut fewer edges will tend to avoid drawing district lines
through the heart of these urban areas. This has the welcome side effect of avoiding splitting cities and towns,
and in doing so helping to preserve “communities of interest,” another common redistricting consideration.
    Empirically, this graph-based compactness measure is highly correlated with log τ (G) − log τ (ξ) (we often
observe a correlation in excess of 0.99). It is difficult to precisely characterize this relationship except in special
cases because τ (ξ) is calculated as a matrix determinant (McKay,Q1981). However, this quantity is strongly
controlled by the product of the degrees of each node in the graph, m     i=1 deg(vi ) (Kostochka, 1995). Removing
an edge from a graph decreases the degree of thevertices at either end by one, so we would expect log τ (G)
to change by approximately 2{log d¯ − log d¯ − 1 } with this edge removal, where d¯ is the average       degree of
the graph. This implies a linear relation log τ (G) − log τ (ξ) ≈ rem(ξ) · 2{log d¯ − log d¯ − 1 }, and hence
τ (ξ)ρ ≈ C1 exp(−C2 ρ rem(ξ)), where C1 and C2 are some constants depending on the details of the map.
    As a result, a greater value of ρ in the target distribution corresponds to a preference for fewer edge cuts
and therefore a redistricting plan with more compact districts. This and the considerations given in the literature
(Dube and Clark, 2016; DeFord et al., 2021) suggest that the target distribution in Equation (1) with ρ = 1 (or
another positive value) is a good choice for sampling compact districts. The choice of ρ = 1 is computationally
convenient, as it allows us to avoid calculating τ (ξ) as part of sampling (an asymptotic bottleneck), and yet
usually produces satisfactorily compact districts. Of course, if another compactness metric is desired, one can
simply set ρ = 0 and incorporate the alternative metric into J. This will preserve the algorithm’s efficiency to
the extent that the alternative metric correlates with the edge-removal measure of compactness.

4     The Proposed Algorithm
The proposed algorithm samples redistricting plans by sequentially drawing districts over n − 1 iterations of a
splitting procedure. This is fundamentally different from existing MCMC approaches, which change an existing
plan according to some transition kernel. The iterations of the proposed algorithm are from district to district
within a single plan whereas the iterations in an MCMC algorithm are from plan to plan.
     Our algorithm begins by partitioning the original graph G = (V, E) = (Ve0 , E      e0 ) = G e 0 into two induced
subgraphs: G1 = (V1 , E1 ), which will constitute a district in the final map, and the remainder of the graph
G             e1 ), where Ve1 = V \ V1 and E
 e 1 = (Ve1 , E                             e1 consists of all the edges between vertices in Ve1 . Next, the algorithm
takes G1 as an input graph and partitions it into two induced subgraphs, one which will become a district G2 and
       e
the remaining graph G   e 2 . The algorithm repeats the same splitting procedure until the final (n − 1)-th iteration
whose two resulting partitions, Gn−1 and G    e n−1 = Gn , become the final two districts of the redistricting plan.
     Figure 2 provides an illustration of this sequential procedure. To sample a large number of redistricting
plans from the target distribution given in Equation (1), at each iteration, the algorithm samples many candidate
partitions, discards those which fail to meet the population constraint, and then resamples a certain number of
the remainder according to importance weights, using the resampled partitions at the next iteration. The rest of
this section explains the details of the proposed algorithm.
4.1   The Splitting Procedure
We first describe the splitting procedure, which is similar to the merge-split Markov chain proposals of DeFord
et al. (2021) and Carter et al. (2019). It proceeds by drawing a random spanning tree T , identifying the ki most


                                                          6
3:21-cv-03302-MGL-TJH-RMG                        Date Filed 09/02/22       Entry Number 344-5          Page 9 of 29




                                            ~                         ~                         ~
                   ~
                                            G1                        G2                  G 4 = G3    G3
               G = G0                                                               G2                           G2

                                                 G1                        G1                        G1


           (a) Initial map                (b) Iteration 1         (c) Iteration 2             (d) Iteration 3

Figure 2: The sequential splitting procedure applied to the state of Iowa, where four congressional districts are
created at the county level.

promising edges to cut within the tree, and selecting one such edge at random to create two induced subgraphs.
Spanning trees are an attractive way to split districts, as the removal of a single edge induces a partition with two
connected components, and spanning trees can be sampled uniformly (Wilson, 1996).

Algorithm 1 Splitting procedure to generate one district
                     e i−1 and a parameter ki ∈ Z+ .
Input: initial graph G

(a) Draw a single spanning tree T on G
                                     e i−1 uniformly from the set of all such trees using Wilson’s algorithm.
                                                                (1)         (2)
(b) Each edge e ∈ E(T ) divides T into two components, Te and Te . For each edge, compute the following
    population deviation for the two districts that would be induced by cutting T at e,
                                P                                       P
                                      (1) pop(v)                               (2) pop(v)
                                  v∈Te                                     v∈Te
                      d(1)
                       e   =                      −  1   and   d(2)
                                                                e   =                     −1 .
                                   pop(V )/n                               pop(V )/n

                        (1)   (2)
      Let de = min{de , de }, and index the edges in ascending order by this quantity, so that we have de1 ≤
      de2 ≤ · · · ≤ demi −1 , where mi = |Vi |.

(c) Select one edge e∗ uniformly from the top ki edges, {e1 , e2 , . . . , eki }, and remove it from T , creating a
                      (1)   (2)                              (1)  (2)
    spanning forest (Te∗ , Te∗ ) which induces a partition (Gi , Gi ).
         (1)      (2)               (1)                                                                    (2)
(d) If de∗ ≤ de∗ , i.e., if Te∗ induces a district that is closer to the optimal population than Te∗ does, set
           (1)     e i = G(2) ; otherwise, set Gi = G(2) and Ge i = G(1) .
    Gi = Gi and G           i                         i               i



    As part of the full sampling procedure (Algorithm 2), after splitting, we check that the population of the new
district Gi falls within the bounds
                                                                                      
                    −           pop(V )                         n−i
                  Pi = max              (1 − D), pop(Vi−1 ) −
                                                      e                pop(V )(1 + D)       and
                                   n                              n
                                                                                      
                    +           pop(V )                        n−i
                  Pi = min              (1 + D), pop(Vi−1 ) −
                                                     e                 pop(V )(1 − D) .
                                  n                              n
These bounds also ensure that it will be possible for future iterations to generate valid districts out of G  e i . If
               −    +
pop(Vi ) 6∈ [Pi , Pi ], then the entire redistricting plan is rejected and the sampling process begins again. While
the rate of rejection varies by map and by iteration, we generally encounter acceptance rates at each iteration
between 5% and 30%, which are not so low as to make sampling from large maps intractable. Algorithm 1
details the steps of the splitting procedure, where at the first iteration we take G
                                                                                   e 0 = G.
4.2    The Sampling Probability
The above sequential splitting procedure does not generate plans from the target distribution π. We denote
the sampling measure by q, and write the sampling probability for a given connected plan ξ at iteration i as

                                                            7
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 09/02/22           Entry Number 344-5            Page 10 of 29



q(Gi | Ge i−1 ), since each new district Gi depends only on the leftover map area G e i−1 from the previous iteration.
This probability can be written as the probability that we cut an edge along the boundary of the new district,
integrated over all spanning trees which could be cut to form the district, i.e.,
                                                     X
                                 q(Gi | G e i−1 ) =                        e i−1 )−1 ,
                                                             q(Gi | T ) τ (G                                       (3)
                                                    T ∈T (G
                                                          e i−1 )


where T (·) represents the set of all spanning trees of a given graph, and we have relied on the fact that Wilson’s
algorithm draws spanning trees uniformly.
     The key is that for certain choices of ki (the number of edges considered to be cut at iteration i), the proba-
bility that an edge is cut is independent of the trees that are drawn. Let ok(T ) represent the number of edges on
any spanning tree T that induce balanced partitions with population deviation below D, i.e.,

                                         ok(T ) := |{e ∈ E(T ) : de ≤ D}|.

Then define Ki := maxT ∈T (Gei−1 ) ok(T ), the maximum number of such edges across all spanning trees. Fur-
thermore, let C(G, H) represent the set of edges joining nodes in a graph G to nodes in a graph H. We have
the following result for the splitting probability for new districts whose populations lie inside the bounds defined
above (Appendix A for the proof).

Lemma 1. The probability of splitting a valid new district Gi from an existing area G
                                                                                    e i−1 using Algorithm 1 with
parameter ki ≥ Ki is

                                e i−1 , pop(Vi ) ∈ [P − , P + ]) = τ (Gi )τ (Gi ) |C(Gi , G
                                                                              e
                         q(Gi | G                    i     i
                                                                                          e i )|.                   (4)
                                                                    τ (G
                                                                       e i−1 )ki

4.3   Sequential Monte Carlo
We follow a sequential Monte Carlo approach (Doucet et al., 2001; Liu et al., 2001) to generate draws from the
target distribution, rather than simply performing n − 1 iterations of Algorithm 1 and resampling or reweighting
at the final stage. A sequential approach is also useful in operationalizing the rejection procedure to enforce the
population constraint.
     The proposed procedure is presented as Algorithm 2. The algorithm is governed by a parameter α ∈ (0, 1],
which has no effect on the target distribution nor the asymptotic accuracy of the algorithm. Rather, α may
be adjusted to maximize the efficiency of sampling. To generate S redistricting plans, at each iteration of the
splitting procedure i ∈ {1, 2, . . . , n − 1}, we resample and split the existing plans one at a time, rejecting those
which do not meet the population constraints, until we obtain S new plans for the next iteration. This rejection
process can be viewed as a form of partial rejection control (Liu et al., 1998, 2001), or a version of the AliveSMC
algorithm (LeGland and Oudjane, 2005; Peters et al., 2012).
     The weights at each stage serve three purposes. The first is to account for the extraneous |C(Gi , G    e i )| term
                                                                             −    +
which appears in the splitting probability q(Gi | Gi−1 , pop(Vi ) ∈ [Pi , Pi ]) but not in the target distribution
                                                          e
π. The second is to account for differences in the compactness parameter ρ; the splitting procedure generates
plans according to ρ = 1, but this may be different from the target value. The third purpose is to adjust for the
imbalances between the labeled plans generated by the splitting procedure and the unlabeled plans which are the
target of sampling. While there are n! labeled plans corresponding to every unlabeled plan, not every labeled
plan may be sampled according to the sequential procedure. In fact, the number of labeled plans which are in the
support of the SMC proposal distribution varies from one unlabeled plan to another. It is this imbalance which
necessitates an additional correction.
     For a labeled plan ξ, let G/ξ denote the district-level quotient graph corresponding to the plan; i.e., the nodes
are districts {1, . . . , n} and edges connect adjacent districts. Notice that the splitting procedure ensures that the
leftover area after each split, G  e i , is a connected graph. This means that for every 1 ≤ i ≤ n − 1, the subgraph
of G/ξ induced by the vertices {i + 1, i + 2, . . . , n} (the districts drawn after split i) is connected. We call any


                                                             8
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 09/02/22                        Entry Number 344-5                Page 11 of 29



Algorithm 2 Sequential Monte Carlo (SMC) Algorithm
Input: graph G to be split into n districts, target distribution parameters ρ ∈ R+
                                                                                 0 and constraint function J, and
sampling parameters α ∈ (0, 1] and ki ∈ Z+ , with i ∈ {1, 2, . . . , n − 1}.
                                        e (1) , G
(a) Generate an initial set of S plans {G       e (2) , . . . , G
                                                                e (S) } and corresponding weights {w(1) , w(2) , . . . , w(S) },
                                          0       0               0                                 0      0              0
    where each Ge (j) := G and w(j) = 1.
                  0                0

(b) For each splitting iteration i ∈ {1, 2, . . . , n − 1}:

    (1) Until there are S valid plans:
                                                                                                                      Q            α
                                     e i−1 from {G           (1)      (2)
                                                              e } according to weights   (S)                                i−1 (j)
           (i) Sample a partial plan G           e ,G
                                                   i−1
                                                       e ,...,G
                                                        i−1     i−1                                                            w
                                                                                                                            l=1 l      .
           (ii) Split off a new district from G e i−1 through one iteration of the splitting procedure (Algorithm 1),
                creating a new plan (Gi , Gi ).
                                           e
          (iii) If the newly sampled plan (Gi , G  e i ) satisfies pop(Vi ) ∈ [P − , P + ], save it; otherwise, reject it.
                                                                                i     i
                                                                                     (j)
                                                                    (j)         τ (Gi )ρ−1
    (2) Calculate weights for each of the new plans wi                    =         (j) e (j) .
                                                                              |C(G ,G
                                                                                    i        )|
                                                                                              i

(c) Calculate final weights
                                                                          n−2
                                                                                         !(1−α)
                                                                                                                 ρ−1
                                                                                   (j)               (j)
                                                                          Y
                           (j)                (j)            (j) −1
                       w         = exp{−J(ξ         )}ψ([ξ     ])                 wi                wn−1 τ (G(j)
                                                                                                             n   )     .               (5)
                                                                            i=1

                                                                      (j)               (j)       (j)
(d) Output the S final plans {ξ (j) }Sj=1 , where ξ (j) = (G1 , . . . , Gn−1 , Gn ), and the final weights {w(j) }Sj=1 .



labeled plan ξ a sequentially valid labeling if this property holds, and denote by ψ([ξ]) the number of sequentially
valid labelings corresponding to an unlabeled plan [ξ]. The SMC weights incorporate ψ([ξ]) as a correction term.
Calculation of ψ([ξ]) is discussed below in Section 4.4.2.
     From the output of Algorithm 2, one last resampling of S plans using the final weights can be performed
to generate a final sample. Alternatively, the weights can be used directly to estimate the expectation of some
statistics of interest under    the target distribution, i.e., H = Eπ (h(ξ)), using the self-normalized importance
sampling estimate H    b = PS h(ξ (j) )w(j) / PS w(j) .
                               j=1                   j=1
     The sampled plans are not completely independent, because the weights in each step must be normalized
before resampling, and because the resampling itself introduces some dependence. Precisely quantifying the
amount of dependence is difficult. However, as we demonstrate in Section 5, the dependence is not large enough
to cause measurable bias in summary statistics of interest.
     It is difficult to precisely characterize the computational complexity of the entire SMC algorithm since the
rejection sampling introduces a random component, which depends on the difficulty of sampling a new district
within the population bounds. This random complexity is also shared by existing MCMC approaches, which
must redraw proposals if they are invalid. Appendix C analyzes the complexity of generating each sample
without accounting for the rejection step. In contrast with MCMC approaches, step (b)(1) of Algorithm 2 can
be embarrassingly parallelized, since each resample-split-check requires interaction only with the previous set of
samples.
     The weights in the proposed algorithm are chosen to match existing general SMC algorithms with partial
rejection control. These existing algorithms provide guarantees as to the convergence of the samples to the target
distribution. One such result, which will suffice for our purposes, is the following central limit theorem.

Proposition 1. Let πS = Sj=1 w(j) δ[ξ(j) ] be the weighted particle approximation generated by Algorithm 2.
                               P




                                                                     9
3:21-cv-03302-MGL-TJH-RMG                 Date Filed 09/02/22         Entry Number 344-5           Page 12 of 29



Then for all measurable h on unlabeled plans, as S → ∞,
                               √                                d
                                   S(EπS [h([ξ])] − Eπ [h([ξ])]) −
                                                                 → N (0, VSMC (h)),

for some asymptotic variance VSMC (h).
     A proof is given in Appendix A. This central limit theorem implies consistency (in S) of any quantity derived
from the weighted samples. However, since this convergence is in probability (w.r.t. the algorithm’s sampling
                                                           d
probability), the proposition does not establish that πS −→ π almost surely. While the almost sure convergence
result exists for a standard SMC algorithm (Del Moral et al., 2006), we do not know of an extension to the case
of partial rejection control.
Qn In some    cases, the constraints incorporated into J(ξ) admit a natural decomposition to the district level as
        0
   i=1 J (Gi )—for example, a preference for districts which split as few counties as possible, or against districts
                                                                                (j)
which would pair off incumbents. In these cases, an extra term of exp{−J 0 (Gi )} can be added to the weights
  (j)
wi in each stage, and the same term can be dropped from the final weights w(j) . This can be particularly useful
for more stringent constraints; incorporating J 0 in each stage allows the importance resampling to “steer” the
set of redistricting plans towards those which are preferred by the constraints. This same idea can be used to
amortize the contribution of ψ([ξ]) to the final weights over the preceding SMC iterations; details can be found
in Appendix C.
4.4     Practical Implementation and Use
The SMC algorithm described above allows for an accurate characterization of the target distribution given
in Equation (1) as the sample size goes to infinity. In practice, of course, we must use a finite number of
samples. Additionally, the algorithm relies on choosing ki , which is difficult since Ki is typically unknown, and
on calculating ψ([ξ]), which is difficult since it is not analytically available.
    This section discusses these practical implementation challenges, as well as selection of the parameter α and
the use of diagnostics that can be applied to help identify when the algorithm is or is not performing well. Further
details about implementation may be found in Appendix C.
4.4.1    Choosing ki
The accuracy of the algorithm is theoretically guaranteed only when the number of edges considered for removal
at each stage is at least the maximum number of edges across all graphs which induce districts Gi with dev(Gi ) ≤
D, i.e., ki ≥ Ki . Unfortunately, Ki is generally unknown in practice. We could conservatively set ki = m − 1,
the number of edges in each spanning tree but such a choice results in a prohibitively inefficient algorithm—the
random edge selected for removal will with high probability induce an invalid partition, leading to a rejection
of the entire map. In practice we estimate ki before each SMC stage by generating random spanning trees,
as we detail in Appendix C. Theoretical support for this estimate is given by Proposition 2, which bounds the
inaccuracy of the approximation with a user-selectable parameter.
4.4.2    Calculating ψ([ξ])
The number of sequentially valid labelings ψ([ξ]) corresponding to an unlabeled plan [ξ] can vary significantly
across unlabeled plans, and has no closed-form expression permitting easy calculation. Unfortunately, ψ([ξ])
grows rapidly in n, but not nearly as fast as n!, the total number of labelings per unlabeled plan, which makes
both direct and approximate calculation methods challenging. We adopt a hybrid approach in practice. When
n ≤ 13, we compute ψ([ξ]) with a recursive divide-and-conquer algorithm. When n > 13, we can estimate
ψ([ξ]) to arbitrary precision using a particular importance sampling scheme. Both of these approaches are
detailed in Appendix C, and do not increase the runtime of the SMC algorithm asymptotically.
4.4.3    Choosing α
As noted above, as long as α ∈ (0, 1] the SMC algorithm is asymptotically valid. Larger values are more
aggressive in downweighting unlikely plans (those which are overrepresented in q versus π), which may lead to
less diversity in the final sample, while smaller values of α are less aggressive, which can result in more variable

                                                        10
3:21-cv-03302-MGL-TJH-RMG                         Date Filed 09/02/22              Entry Number 344-5                  Page 13 of 29



final weights and more wasted samples. Liu et al. (2001) recommend a default choice of α = 0.5, which we
have found appropriate, though in general we have not found the algorithm’s performance to be very sensitive to
α within the range 0.5 ≤ α ≤ 0.9.
4.4.4    Diagnostics
As with any complex sampler, application of the SMC algorithm in practice can be greatly facilitated by a set of
diagnostic measures. Diagnostics can never prove that an algorithm is working correctly, but they can identify
situations when the algorithm fails and shed light on why. We discuss several useful diagnostics below, all of
which are implemented in our open-source software.
     Our primary recommendation is to perform multiple independent runs of the SMC algorithm, which enables
both checking for nonconvergence to the target distribution as well as the calculation of standard errors for
quantities of interest. For convergence, we adopt the Gelman-Rubin R̂ statistic (Gelman and Rubin, 1992),
which compares between-run variation to within-run variation. If the latter is an appreciable fraction of the
former, then independent runs produce different results, and the algorithm has not converged. For our purposes,
we will consider an algorithm not to have converged if R̂ values for statistics of interest exceed 1.05, though
higher or lower thresholds may be appropriate for given computational budgets and other applied considerations.
     We use the rank-normalized and folded R̂ of Vehtari et al. (2019), which makes the statistic more robust to
heavy tails and more sensitive to discrepancies in scale, not just location. For our purposes, R̂ is advantageous,
since it is computed on summary statistics and thus provides a measure of convergence tailored to practical quan-
tities of interest. Additionally, it is unitless, and so can be compared across runs and indeed across algorithms,
as we will do in Section 5.
     Multiple runs can also be easily used to compute standard errors of expectations taken relative to the sampled
plans. Recently, Lee and Whiteley (2018) and Olsson and Douc (2019), among others, have developed a method
to estimate SMC variance by using information on the ancestry of each sampled particle (here, plan). While we
have implemented this method in our open-source software and found it to be correct on average, the resulting
estimates tend to be much noisier than those obtained from a simple multiple-run standard error.
     Other diagnostics are useful for assessing the overall quality of the sample and pinpointing where issues
arise when the algorithm is not working well. One measure of quality is sample diversity, or how different the
samples are from each other, which we measure using the variation of information metric shown in Equation (2).
Similar plans will have a variation of information near zero, while plans which are extremely different will have
a variation of information closer to 1. A non-diverse sample will have many copies of similar or identical plans,
which tends to increase sampling error and reduces the interpretability of the generated samples.
     When sampling problems arise, a closer look at each iteration of Algorithm 2 can help identify the cause. A
low acceptance rate in step (b)(1)(3), or weights which are highly variable or have a heavy right tail in step (b)(2),
can lower the sampling efficiency and diversity. Examining the variance of the log-weights at each iteration can
be useful. Variances which increase consistently across iterations can be a sign to use a higher α, which will
sample more aggressively earlier on to avoid a build-up of variable weights. We have also found that the number
of unique plans from the previous iteration which survive to the subsequent iteration is a highly useful indicator of
sampling problems, since it captures inefficiencies introduced by both the rejection and resampling steps. If the
number of unique plans is substantially below what would be expected from a uniform sample with replacement
from the same population, then some kind of bottleneck or other sampling problem is generally present.
4.5     Incorporating Administrative Boundary Constraints
Another common requirement for redistricting plans is that districts “to the greatest extent possible” follow exist-
ing administrative boundaries such as county and municipality lines.1 In theory, this constraint can be formulated
using a J function which penalizes maps for every county line crossed by a district. In practice, however, we can
more efficiently generate desired maps by directly incorporating this constraint into our sampling algorithm.
    Fortunately, with a small modification to the proposed algorithm, we can sample redistricting plans propor-
tional to a similar target distribution but with the additional constraint that the number of administrative splits
   1
    If a redistricting plan must always respect these boundaries, we can simply treat the administrative units as the nodes of the original
graph to be partitioned.


                                                                   11
3:21-cv-03302-MGL-TJH-RMG                                                                                                                     Date Filed 09/02/22                                             Entry Number 344-5                                                 Page 14 of 29



                                                          ●                                                                                            ●                                                                                                                                ●
                                 ●           ●                        ●                                                       ●           ●                        ●                                                                                           ●           ●                        ●
                 ●                                        ●                           ●                       ●                                        ●                           ●                                                           ●                                        ●                           ●
     ●                                                                    ●                       ●                                                                    ●                                                           ●                                                                    ●
                         ●           ●       ● ●      ●                                                               ●           ●       ● ●      ●                                                                                                   ●           ●       ● ●      ●
                                                               ●                      ●                                                                     ●                      ●                                                                                                         ●                      ●
                             ●       ●        ●           ●   ● ●                                                         ●       ●        ●           ●   ● ●                                                     ●                                       ●       ●        ●           ●   ● ●
         ●           ●                                                            ●                   ●           ●                                                            ●                                                       ●           ●                                                            ●
                                                      ●       ●       ●                                                                            ●       ●       ●                                                                                                                ●       ●       ●
                                             ●                                                                                            ●                                                                                                                                ●
                     ●                                                                ●                           ●                                                                ●                      ●                                        ●                                                                ●
                                 ●            ●                                                                               ●            ●                                                                                                                   ●            ●
                                                      ●       ●       ●                                                                            ●       ●       ●                                                                                                                ●       ●       ●
             ●           ●       ●       ●                        ●                                       ●           ●       ●       ●                        ●                                                                           ●           ●       ●       ●                        ●
                                                                                      ●                                                                                            ●                                                                                                                                ●
                                              ● ●         ●               ●                                                                ● ●         ●               ●                                                                                                    ● ●         ●               ●
     ●               ●   ●               ●                            ●                       ●   ●               ●   ●               ●                            ●                       ●                                       ●               ●   ●               ●                            ●                       ●
                                                              ●                                                                                            ●                                                   ●                                                                            ●
                                 ● ●                                                                                          ● ●                                                                                                                              ● ●
                         ●                        ●                               ●                                   ●                        ●                               ●                                                                       ●                        ●                               ●
                                                              ●       ●                                                                                    ●       ●                                                                                                                        ●       ●
     ●           ●                       ●                                                        ●           ●                       ●                                                                                            ●           ●                       ●
                         ●                                                                ●                           ●                                                                ●                                                               ●                                                                ●
                                                      ●           ●           ●                                                                    ●           ●           ●                                                                                                        ●           ●           ●
                                     ●                                                                                            ●                                                                                                                                ●




 (a) The Erie graph. Edges      (b) Spanning trees drawn on                                                                                                                                     (c) The quotient multigraph.   (d) The final spanning tree.
 that cross from one            each administrative unit.                                                                                                                                       Edges connecting boundary      A spanning tree on the
 administrative unit to another                                                                                                                                                                 units in the original graphs   quotient multigraph connects
 are colored black.                                                                                                                                                                             become edges in the            the trees on each
                                                                                                                                                                                                multigraph.                    administrative unit.

Figure 3: The two-step spanning tree sampling procedure applied to the city of Erie, Pennsylvania, with three
arbitrary administrative units indicated by the colored sections of each map.


not exceed n − 1. The hard constraint of n − 1 splits cannot be adjusted upwards or downwards, unfortunately,
but a preference for even fewer administrative splits may be incorporated through the J function.
    Let A be the set of administrative units, such as counties. We can relate these units to the nodes by way
of a labeling function η : V → A that assigns each node to its corresponding unit. This function induces an
equivalence relation ∼η on nodes, where v ∼η u for nodes v and u iff η(v) = η(u). If we quotient G by this
relation, we obtain the administrative-level multigraph G / ∼η , where each vertex is an administrative unit and
every edge corresponds to an edge in G which connects two nodes in different administrative units. We can write
the number of administrative splits as
                                                 n
                                                                        !
                                            XX
                                                        −1        −1
                               spl(ξ) =             C(η (a) ∩ ξ (i)) − |A|,
                                                                                                                                                           a∈A i=1

where C(·) counts the number of connected components in the subgraph η −1 (a) ∩ ξ −1 (i).
     To implement this constraint, we draw the spanning trees in step (a) of Algorithm 2 in two substeps such
that we sample from a specific subset of all spanning trees. First, we use Wilson’s algorithm to draw a spanning
tree on each administrative unit a ∈ A, and then we connect these spanning trees to each other by drawing a
spanning tree on the quotient multigraph G   e i / ∼η . Figure 3 illustrates this process. This approach is similar to
the independently-developed multi-scale merge-split algorithm of Autry et al. (2020).
     Drawing the spanning trees in two steps limits the trees used to those which, when restricted to the nodes
η −1 (a) in any administrative unit a, are still spanning trees. The importance of this restriction is that cutting
any edge in such a tree will either split the map exactly along administrative boundaries (if the edge is on the
quotient multigraph) or split one administrative unit in two and preserve administrative boundaries everywhere
else. Since the algorithm has n − 1 stages, this limits the support of the sampling distribution to maps with no
more than n − 1 administrative splits.
     The two-step construction makes clear that the total number of such spanning trees is given by
                                                               Y
                                   τη (G
                                       e i ) = τ (G e i / ∼η )       e i ∩ η −1 (a)),
                                                                  τ (G                                             (6)
                                                                                                                                                                                                    a∈A


where G e i ∩ η −1 (a) denotes the subgraph of G
                                               e i which lies in unit a, and we take τ (∅) = 1. Replacing τ with
                                        (j)
τη in the expression for the weights wi and w(j) then gives the modified algorithm that asymptotically samples
from
                        πη ([ξ]) ∝ exp{−J(ξ)}τη (ξ)ρ 1{ξ connected} 1{dev(ξ)≤D} 1{spl(ξ)≤n−1} .              (7)
    This idea can in fact be extended to arbitrary levels of nested administrative hierarchy. We can, for example,
limit not only the number of split counties but also the number of split cities and Census tracts to n − 1 each,
since tracts are nested within cities, which are nested within counties. To do so, we begin by drawing spanning

                                                                                                                                                                                               12
3:21-cv-03302-MGL-TJH-RMG                                             Date Filed 09/02/22                                  Entry Number 344-5                                        Page 15 of 29




                                                                                                                                                Sampled high Party A %
                                                                                       Sampled mid Party A %
                                Sampled low Party A %
                                                        40%                                                    60%
                      Party A
                      vote                                                                                                                                               70%
                                                        30%                                                    50%
                          83%
                          67%                                                                                                                                            60%
                                                                                                               40%
                          50%                           20%
                          33%                                                                                                                                            50%
                          17%                                                                                  30%
                                                        10%

                                                              10%   20%   30%    40%                                 30%    40%   50%     60%                              40%     50%   60%    70%
                                                                True low Party A %                                   True mid Party A %                                          True high Party A %


Figure 4: The 6-by-6 map used in validation, colored by the vote share of Party A in each precinct (left). The
remaining panels are quantile-quantile plots comparing the sampled distribution to the enumerated distribution
weighted to the target measure for three summary statistics: the lowest, middle, and highest vote shares of
Party A across the three districts.


trees using Wilson’s algorithm on the smallest administrative units. We then connect spanning trees into larger
and larger trees by drawing spanning trees on the quotient graphs of each higher administrative level. (In this
approach, cities which cross county boundaries must be split in two, and regions outside of cities must be treated
as their own pseudo-city.) Even with multiple levels of administrative hierarchy, the calculation of the number
of spanning trees is still straightforward, by analogy to Equation (6).

5       An Empirical Validation Study
Although the proposed algorithm has desirable theoretical properties, it is important to empirically assess its
performance (Fifield et al., 2020b). We examine whether or not the proposed algorithm can produce a sample
of redistricting maps that is actually representative of a target distribution, and compare its efficiency to that of a
state-of-the-art MCMC redistricting algorithm (Carter et al., 2019).2
     We apply the efficient enumeration algorithm of (Fifield et al., 2020b) to obtain all possible redistricting
plans with three contiguous districts on the 6-by-6 grid map shown in Figure 4. Each precinct in the grid has a
population of 6, and we have imposed a hypothetical partisan composition which changes from primarily “Party
A” on the right to primarily “Party B” on the left. There are over 99 million unlabeled plans with three districts,
264,500 of which have districts with exactly balanced populations. We demonstrate that the proposed algorithm
can efficiently approximate a realistic target distribution on this set of balanced plans. Appendix B contains an
additional validation study with four districts using a 50-precinct map taken from the state of Florida.
     We also compare the accuracy and efficiency of the SMC algorithm to that of a merge-split MCMC algorithm
(Carter et al., 2019). The merge-split algorithm here uses a spanning tree-based proposal identical to the splitting
procedure described in Algorithm 1: it merges adjacent districts, draws a spanning tree on the merged district,
and splits it to ensure the population constraint is met. In fact, the implementation (contained in our open-source
redist package) shares much of the same code base, which allows for more realistic performance comparisons.
The stationary distribution of this algorithm is exactly that of Equation (1).
     We set the target distribution by choosing ρ = 1, which as discussed above will generate compact districts.
This is also the value of ρ for which the proposal and sampling distributions are as close as possible; both the
SMC and MCMC algorithms will operate at peak efficiency. The validation study in Appendix B explores a
wider range of values of ρ.
     To start, we generate 400 samples using Algorithm 2 from this target, and compute the vote share of Party A
in the three districts of each plan. We compute the same vote shares for all of the 264,500 enumerated plans, and
compare the distribution of the lowest, middle, and highest Party A vote shares, weighting the enumerated plans
according to τ (ξ).
    2
    Throughout this paper, we do not make a comparison to the recombination (“ReCom”) algorithm of DeFord et al. (2021), which
pioneered the spanning tree-based proposal used in the merge-split algorithm, as it does not sample from a known target distribution.



                                                                                       13
3:21-cv-03302-MGL-TJH-RMG                                              Date Filed 09/02/22                                 Entry Number 344-5                               Page 16 of 29



         ^
         R                                               Standard error                                        Bias                                            RMSE
                                                  0.05                                                  0.03                                            0.05
                                                  0.04                                                                                                  0.04
 1.100                                                                                                  0.02
                                                  0.03                                                                                                  0.03
                                                                                                        0.01
                                                  0.02                                                                                                  0.02
 1.010
                                                                                                        0.00
                                                  0.01                                                                                                  0.01

 1.001                                                                                                 −0.01

                                                                                                       −0.02
 1.000

              0.01          0.10           1.00               0.01          0.10           1.00                     0.01          0.10           1.00               0.01          0.10           1.00
                     Time (seconds)                                  Time (seconds)                                        Time (seconds)                                  Time (seconds)
         ^
         R                                               Standard error                                        Bias                                            RMSE
                                                  0.05                                                  0.03                                            0.05
                                                  0.04                                                                                                  0.04
 1.100                                                                                                  0.02
                                                  0.03                                                                                                  0.03
                                                                                                        0.01
                                                  0.02                                                                                                  0.02
 1.010
                                                                                                        0.00
                                                  0.01                                                                                                  0.01

 1.001                                                                                                 −0.01

                                                                                                       −0.02
 1.000

         10           100          1,000     10,000      10           100          1,000     10,000            10           100          1,000     10,000      10           100          1,000     10,000
               Number of samples                               Number of samples                                     Number of samples                               Number of samples


                              Statistic           High Party A %             Low Party A %                Mid Party A %            Algorithm                MCMC             SMC




Figure 5: Convergence diagnostic R̂ (on a log scale), standard errors, bias, and RMSE for the same three Party A
vote share summary statistics, calculated across eight independent runs of the MCMC and SMC algorithms.
Values are plotted versus total sampling time (top row) and number of samples per run (bottom row).


    This comparison is summarized in the right three panels of Figure 4 with quantile-quantile plots. Despite
the relatively small sample size, the agreement is excellent, indicating that for these partisan summary statistics,
which are the kind generally of interest in redistricting analysis and litigation, the SMC algorithm is able to
accurately represent the target distribution. We can also perform three more identical runs of 400 samples,
allowing us to compute the R̂ diagnostic for our three summary statistics. These are 1.006, 1.001, and 1.003 for
the low, mid, and high Party A vote shares, indicating likely convergence of the algorithm.
    We next study the quality of the SMC sample as the sample size increases, and make comparisons to the
MCMC algorithm with the same proposal distribution. The MCMC chains are each initialized with a random
SMC sample, and run for 500 warm-up iterations before samples are recorded. We let the sample size vary from
100 to 10,000. For each sample size, we perform eight independent runs of each algorithm, which allows for
accurate calculation of standard errors and R̂ for each of our three summary statistics. We also compute the bias
and the root mean-square error (RMSE) of estimates for the average values of the summary statistics, compared
to the true average values from the τ (ξ)-weighted enumeration distribution.
    Figure 5 summarizes the results of this experiment. As the left two panels show, for any given number
of iterations or total runtime, the SMC algorithm generates samples with lower R̂. According to our heuristic
convergence check that R̂ ≤ 1.05, the SMC algorithm converges after roughly 55 iterations, while the MCMC
algorithm requires roughly 560 iterations (plus 500 warm-up iterations), for a total runtime that is 14.5 times


                                                                                                  14
            3:21-cv-03302-MGL-TJH-RMG                                     Date Filed 09/02/22                                    Entry Number 344-5                                        Page 17 of 29




                        ^ by time                               ^ by samples                                           (c) Combined sample
                    (a) R                                   (b) R                                                                                                            (d) Sampling time
                                                                                                                        diversity, 1st decile




                                                                                          Pairwise VI distance
             2.00                                    2.00
                                                                                                                                                                        30




                                                                                                                                                       Time (minutes)
                                                                                                                 0.5

                                                                                                                                                                        10
             1.10                                    1.10
                                                                                                                 0.3

                                                                                                                                                                        3
                                                                                                                 0.2
             1.01                                    1.01
                                                                                                                                                                        1
                    1       3       10      30              100     300    1,000 3,000                                 100     300   1,000 3,000                             100     300    1,000 3,000
                           Time (minutes)                         Number of samples                                          Number of samples                                     Number of samples

Statistic       Expected Democratic seats        Fraction of edges removed    Algorithm                            MCMC              SMC   Statistic                         Expected Democratic seats    Fraction of edges kept



            Figure 6: Convergence diagnostic R̂ (on a log scale) for two statistics plotted against sampling time (a) and
            number of samples (b). First decile of the pairwise variation of information distance (a measure of sample
            diversity) versus number of samples (c). Distance measures were computed with the combined sample of four
            independent runs. Sampling time versus number of samples (d).


            longer. The same pattern is apparent in the standard errors and RMSE, with the SMC algorithm generating
            less variable estimates for both a fixed sample size and a fixed total runtime for each summary statistic. As the
            center-right panels show, both algorithms produce roughly unbiased estimates at all sample sizes.

            6       Analysis of the 2011 Pennsylvania Redistricting
            As discussed in Section 2, in the process of determining a remedial redistricting plan to replace the 2011 General
            Assembly map, the Pennsylvania Supreme Court received submissions from seven parties. In this section, we
            compare four of these maps to both the original 2011 plan and the remedial plan ultimately adopted by the court.
            We study the governor’s plan and the House Democrats’ plan; the petitioner’s plan (specifically, their “Map A”),
            which was selected from an ensemble of 500 plans used as part of the litigation; and the respondent’s plan, which
            was drawn by Republican officials.
            6.1         The Setup
            To evaluate these six plans, we drew reference maps from the target distribution given in Equation (7) by using
            the proposed algorithm along with the modifications presented in Section 4.5 to cap the number of split counties
            at 17 (out of a total of 67), in line with the court’s mandate. We set ρ = 1 to put most of the sample’s mass on
            compact districts, and enforced dev(ξ) ≤ 0.001 to reflect the “one person, one vote” requirement.
                This population constraint translates to a tolerance of around 700 people, in a state where the median precinct
            has 1,121 people. Like most research on redistricting, we use precincts because they represent the smallest
            geographical units for which election results are available. To draw from a stricter population constraint we
            would need to use the 421,545 Census blocks in Pennsylvania rather than the 9,256 precincts, which would
            significantly increase the computational burden.
            6.2         Comparison with a State-of-the-Art MCMC Algorithm
            We first compare the computational efficiency of the SMC algorithm with the merge-split MCMC algorithm
            used in the empirical validation above. As in the validation study, the MCMC chains are each initialized with a
            random SMC sample, and run for 500 warm-up iterations before samples are recorded. We let the sample size
            vary from 100 to 4,000 for the SMC algorithm and from 100 to 6,310 for the MCMC algorithm. For each sample
            size, we perform four independent runs of each algorithm.
                Figures 6(a) and (b) show the R̂ values of two summary statistics (Democratic seats and compactness) by
            the total runtime and the number of samples per run. As with the smaller validation study, the SMC algorithm
            is more efficient, with lower R̂ values than the MCMC algorithm for a given runtime or sample size. According


                                                                                          15
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 09/02/22         Entry Number 344-5             Page 18 of 29



to our heuristic convergence check that R̂ ≤ 1.05, the SMC algorithm converges after 1,600 iterations, while
the MCMC algorithm has still not converged after more than 6,300 iterations (plus 500 warm-up iterations), at
which point the MCMC algorithm has been running 2.4 times longer than the SMC algorithm.
    Figure 6(c) examines the sampling efficiency from the perspective of sample diversity. As discussed in
Section 4.4.4, the pairwise variation of information (VI) distance provides a way to quantify how similar the
plans in each sample are to each other. If the distribution of these pairwise VI distances has a long lower tail,
then there are a significant number of plans which are very similar. Figure 6(c) shows the first decile of the
pairwise VI distances in the combined sample (i.e., pooled across all four runs) for each algorithm as the sample
size increases. Because of the sequential nature of the MCMC algorithms, the sample diversity doesn’t match
that of the SMC algorithms until there are at least 3,000 samples. This is reflected in the lag-1 autocorrelation of
the MCMC sample, which was 0.982 for Democratic seats and 0.984 for compactness.
    Not shown in Figure 6 are the standard errors for each quantity of interest. Like the sample diversity and R̂,
for a fixed sample size or runtime, the SMC algorithm produced substantially smaller standard errors for both
summary statistics than the MCMC algorithm (30–80% smaller across the range of sample sizes), indicating
higher efficiency.
    Figure 6(d) shows how long each algorithm takes to run for a given number of samples. Because of the
fixed warm-up cost of the MCMC algorithm, it is slower than the SMC algorithm for less than 600 samples.
Asymptotically, both algorithms have runtime linear in the number of samples. But the per-sample cost of the
MCMC algorithm is lower, since only two districts are redrawn, rather than the entire map.
6.3    Compactness and County Splits
While the results of the comparison above suggest that 1,600 SMC samples is enough for Pennsylvania, we
perform the rest of our analysis with 4,000 samples from one of the SMC runs.
    Figures 7(a) and (b) show distribution of the fraction of edges removed rem(ξ) and the number of county
splits spl(ξ) across the reference maps generated by our algorithm. The figure also shows these values for each
of the six plans. The 2011 General Assembly plan is a clear outlier for both statistics, being far less compact and
splitting far more counties than any of the reference plans and all of the remedial plans. Among the remedial
plans, the petitioner’s is almost an outlier in being too compact, although this is perhaps not surprising—the
map was generated by an algorithm explicitly designed to optimize over criteria such as population balance and
compactness (Chen, 2017). The other plans’ compactness falls within the range of the reference sample.
    Figure 7(b) shows that all of the submitted remedial plans, as well as the reference sample, followed the
court’s instructions to limit the number of county splits. Yet around half of the reference maps split fewer than
13 counties, the minimum number of splits found in any of the remedial plans. This may be a result of the strict
population constraint (all six plans were within 1 person of equal population across all districts), or a different
prioritization between the various constraints imposed.
6.4    Partisan Analysis
While important, the outlier status of the General Assembly plan as regards compactness and county splits is not
sufficient to show that it is a partisan gerrymander. To evaluate the partisan implications of the six plans, we
take a precinct-level baseline voting pattern and aggregate it by district to explore hypothetical election outcomes
under the six plans and the reference maps. The baseline pattern is calculated by averaging the vote totals for the
three presidential elections and three gubernatorial elections that were held in Pennsylvania from 2000 to 2010.3
These election data were also used during litigation. While being far from a perfect way to create counterfactual
election outcomes, this simple averaging of statewide results is often used in academic research and courts. The
values of R̂ for all district-level vote shares were less than 1.05.
     Then, within each plan, we number the districts by their baseline Democratic two-party vote share, so Dis-
trict 1 is the least Democratic and District 18 the most. Figure 7(c), analogous to Figure 7 in Herschlag et al.
(2017), presents the distribution of the Democratic two-party vote share for each of the districts across the
   3
   Data from Ansolabehere, S. and Rodden, J. (2011). Pennsylvania Data Files. Available at https://doi.org/10.7910/DVN/
FJHHDS.



                                                          16
3:21-cv-03302-MGL-TJH-RMG                                                                Date Filed 09/02/22                                        Entry Number 344-5                        Page 19 of 29




                               (a) Compactness                                                                                   (c) District−level Democratic vote shares

                         300
                                           Governor                                                                        90%
                                Court
                                                     House Democrats         General Assembly
                                Petitioner                                                                                                   Plan
    Density




                         200                   Respondent
                                                                                                                                                    Court
                                                                                                                           80%
                                                                                                                                                    General Assembly
                         100




                                                                                                   Democratic vote share
                                                                                                                           70%
                           0
                           2.5%              3.0%             3.5%          4.0%         4.5%
                                                 Fraction of edges removed

                               (b) County splits                                                                           60%


                                                     Respondent
    Number of samples




                        1200             Court                    House Democrats
                                                                                                                           50%
                                        Petitioner    Governor                  General Assembly

                         800


                                                                                                                           40%
                         400



                           0
                                    10                 15              20           25                                           0                   5                  10                    15
                                                            County splits                                                                           District, from least to most Democratic


Figure 7: Summary statistics for the sampled and comparison plans: (a) compactness (smaller means more
compact) and (b) county splits. Panel (c) shows the Democratic two-party vote share by district, where within
each plan districts are ordered by Democratic vote share.


reference maps, and also shows the values for the General Assembly plan (orange triangles) and the court’s
adopted plan (purple circles). When compared to the reference maps and the court’s plan, the General Assembly
plan tends to yield smaller Democratic vote share in competitive districts (p-values of 0.0162, 0.0002, 0.0002,
and 0.0002 for Districts 9–12 compared to the reference set) while giving larger Democratic vote share in non-
competitive districts. The effect of this is to produce 6 Democratic seats, on average, under the General Assembly
plan, compared to a range of 8–12 under the reference sample (p-value 0.0002) and 11 under the Court plan. All
of these findings provide evidence that the General Assembly plan was gerrymandered in favor of Republicans
by packing Democratic voters into non-competitive districts.

7                       Concluding Remarks
Redistricting sampling algorithms allow for the empirical evaluation of a redistricting plan by generating al-
ternative plans under a certain set of constraints. Researchers and policymakers can compute various statistics
from the redistricting plan of interest and compare them with the corresponding statistics based on these sampled
plans. Unfortunately, existing approaches often struggle when applied to real-world problems, owing to the scale
of the problems and the number of constraints involved.
    The SMC algorithm presented here can provably asymptotically sample from a specific target distribution,
the first such guarantee in the literature. Because of the constructive sampling approach, it does not face the
same kinds of scalability problems as many existing MCMC algorithms, and even performs more efficiently
than a MCMC algorithm that uses an identical proposal distribution. The proposed method also incorporates,
by design, the common redistricting constraints of population balance, geographic compactness, and minimizing
administrative splits. We expect these advantages of the SMC algorithm to substantially improve the reliability
of outlier analysis in real-world redistricting cases.
    The proposed approach is not without its limitations. Like other redistricting sampling algorithms, if the
target distribution strays too far from the proposal distribution, the quality of the generated sample will suffer


                                                                                                                                     17
3:21-cv-03302-MGL-TJH-RMG                 Date Filed 09/02/22         Entry Number 344-5           Page 20 of 29



dramatically. Close examination of diagnostic measures like R̂, sample diversity, and per-iteration efficiency
is required to provide confidence that the algorithm is sampling accurately and has converged for particular
quantities of interest. Our open-source software provides these diagnostics so that analysts can use the proposed
algorithm successfully.
     One drawback particular to the SMC algorithm arises in situations with dozens or hundreds of separate dis-
tricts. Like any other SMC or particle resampling scheme, as the number of iterations (districts) grows, eventually
all of the samples will share a common ancestor. While this is not a problem in many SMC applications (such
as Bayesian inference), for redistricting, this means that all of the sampled plans will share one or more districts
that are completely identical. Any summary statistics which rely on these districts will have very large standard
errors and may not converge even with a large number of samples. This problem can be ameliorated, though not
solved, with many independent runs of the SMC algorithm. One interesting avenue for future research would be
to examine whether several applications of an MCMC kernel at various points in the SMC algorithm could help
refresh the sample and counteract the tendency to collapse to a single ancestor.
     Future research should also explore the possibility of improving several design choices in the algorithm
to further increase its efficiency. Wilson’s algorithm, for instance, can be generalized to sample from edge-
weighted graphs. Choosing weights appropriately could lead to trees which induce maps that are more balanced
or more compact. And the procedure for choosing edges to cut, while allowing for the sampling probability to be
calculated, introduces inefficiencies by leading to many rejected maps. Further improvements in either of these
areas should allow us to better sample and investigate redistricting plans over large maps and with even more
complex sets of constraints.


References
Akitaya, H. A., Korman, M., Korten, O., Souvaine, D. L., and Tóth, C. D. (2022). Reconfiguration of connected
  graph partitions via recombination. Theoretical Computer Science.

Autry, E., Carter, D., Herschlag, G., Hunter, Z., and Mattingly, J. (2020). Multi-scale merge-split Markov chain
  Monte Carlo for redistricting. Working paper.

Bangia, S., Graves, C. V., Herschlag, G., Kang, H. S., Luo, J., Mattingly, J. C., and Ravier, R. (2017). Redistrict-
  ing: Drawing the line. arXiv preprint arXiv:1704.03360.

Bozkaya, B., Erkut, E., and Laporte, G. (2003). A tabu search heuristic and adaptive memory procedure for
  political districting. European journal of operational research, 144(1):12–26.

Carter, D., Herschlag, G., Hunter, Z., and Mattingly, J. (2019). A merge-split proposal for reversible Monte
  Carlo Markov chain sampling of redistricting plans. arXiv preprint arXiv:1911.01503.

Chen, J. (2017). Expert report of Jowei Chen, Ph.D. Expert witness report in League of Women Voters v.
  Commonwealth.

Chen, J. and Rodden, J. (2013). Unintentional gerrymandering: Political geography and electoral bias in legisla-
  tures. Quarterly Journal of Political Science, 8(3):239–269.

Chikina, M., Frieze, A., and Pegden, W. (2017). Assessing significance in a Markov chain without mixing.
  Proceedings of the National Academy of Sciences, 114(11):2860–2864.

Chikina, M., Frieze, A., and Pegden, W. (2019). Understanding our Markov Chain significance test: A reply to
  Cho and Rubinstein-Salzedo. Statistics and Public Policy, 6(1):50–53.

Cho, W. K. T. and Liu, Y. Y. (2018). Sampling from complicated and unknown distributions: Monte Carlo and
  Markov chain Monte Carlo methods for redistricting. Physica A: Statistical Mechanics and its Applications,
  506:170–178.


                                                        18
3:21-cv-03302-MGL-TJH-RMG                Date Filed 09/02/22        Entry Number 344-5           Page 21 of 29



Cho, W. K. T. and Rubinstein-Salzedo, S. (2019). Understanding significance tests from a non-mixing Markov
  Chain for partisan gerrymandering claims. Statistics and Public Policy, 6(1):44–49.

Cirincione, C., Darling, T. A., and O’Rourke, T. G. (2000). Assessing South Carolina’s 1990s congressional
  districting. Political Geography, 19(2):189–211.

Cover, T. M. and Thomas, J. A. (2006). Elements of information theory. John Wiley & Sons, 2nd edition.

DeFord, D., Duchin, M., and Solomon, J. (2021). Recombination: A family of Markov chains for redistricting.
  Harvard Data Science Review. https://hdsr.mitpress.mit.edu/pub/1ds8ptxu.

Del Moral, P., Doucet, A., and Jasra, A. (2006). Sequential monte carlo samplers. Journal of the Royal Statistical
  Society: Series B (Statistical Methodology), 68(3):411–436.

Doucet, A., de Freitas, N., and Gordon, N. (2001). Sequential Monte Carlo methods in practice. Springer, New
  York.

Dube, M. P. and Clark, J. T. (2016). Beyond the circle: Measuring district compactness using graph theory. In
  Annual Meeting of the Northeastern Political Science Association.

Duchin, M. (2018). Outlier analysis for Pennsylvania congressional redistricting.

Fifield, B., Higgins, M., Imai, K., and Tarr, A. (2020a). Automated redistricting simulation using Markov chain
   Monte Carlo. Journal of Computational and Graphical Statistics, 29(4):715–728.

Fifield, B., Imai, K., Kawahara, J., and Kenny, C. T. (2020b). The essential role of empirical validation in
   legislative redistricting simulation. Statistics and Public Policy, 7(1):52–68.

Gelman, A. and Rubin, D. B. (1992). Inference from iterative simulation using multiple sequences. Statistical
  science, 7(4):457–472.

Guth, L., Nieh, A., and Weighill, T. (2020). Three applications of entropy to gerrymandering. arXiv preprint
  arXiv:2010.14972.

Herschlag, G., Ravier, R., and Mattingly, J. C. (2017). Evaluating partisan gerrymandering in Wisconsin. arXiv
  preprint arXiv:1709.01596.

Ionides, E. L. (2008). Truncated importance sampling. Journal of Computational and Graphical Statistics,
  17(2):295–311.

Kenny, C. T., McCartan, C., Fifield, B., and Imai, K. (2020). redist: Computational algorithms for redistricting
  simulation. https://CRAN.R-project.org/package=redist.

Kostochka, A. V. (1995). The number of spanning trees in graphs with a given degree sequence. Random
  Structures & Algorithms, 6(2-3):269–274.

League of Women Voters v. Commonwealth (2018). 178 A. 3d 737 (Pa: Supreme Court).

Lee, A. and Whiteley, N. (2018). Variance estimation in the particle filter. Biometrika, 105(3):609–625.

LeGland, F. and Oudjane, N. (2005). A sequential particle algorithm that keeps the particle system alive. In 2005
  13th European Signal Processing Conference, pages 1–4. IEEE.

Liu, J. S., Chen, R., and Logvinenko, T. (2001). A theoretical framework for sequential importance sampling
  with resampling. In Sequential Monte Carlo methods in practice, pages 225–246. Springer.

Liu, J. S., Chen, R., and Wong, W. H. (1998). Rejection control and sequential importance sampling. Journal of
  the American Statistical Association, 93(443):1022–1031.

                                                       19
3:21-cv-03302-MGL-TJH-RMG                Date Filed 09/02/22        Entry Number 344-5           Page 22 of 29



Liu, Y. Y., Cho, W. K. T., and Wang, S. (2016). PEAR: a massively parallel evolutionary computation approach
  for political redistricting optimization and analysis. Swarm and Evolutionary Computation, 30:78–92.

Macmillan, W. (2001). Redistricting in a GIS environment: An optimisation algorithm using switching-points.
 Journal of Geographical Systems, 3(2):167–180.

Magleby, D. B. and Mosesson, D. B. (2018). A new approach for developing neutral redistricting plans. Political
 Analysis, 26(2):147–167.

Massey, D. S. and Denton, N. A. (1988). The dimensions of residential segregation. Social forces, 67(2):281–
 315.

Mattingly, J. C. and Vaughn, C. (2014). Redistricting and the will of the people. arXiv preprint arXiv:1410.8796.

McKay, B. D. (1981). Spanning trees in random regular graphs. In Proceedings of the Third Caribbean Confer-
 ence on Combinatorics and Computing. Citeseer.

Mehrotra, A., Johnson, E. L., and Nemhauser, G. L. (1998). An optimization based heuristic for political dis-
 tricting. Management Science, 44(8):1100–1114.

Najt, L., Deford, D., and Solomon, J. (2019). Complexity and geometry of sampling connected graph partitions.
  arXiv preprint arXiv:1908.08881.

National Conference of State Legislatures (2021). Redistricting criteria. Available at https://www.ncsl.
  org/research/redistricting/redistricting-criteria.aspx.

Olsson, J. and Douc, R. (2019). Numerically stable online estimation of variance in particle filters. Bernoulli,
  25(2):1504–1535.

Peters, G. W., Fan, Y., and Sisson, S. A. (2012). On sequential monte carlo, partial rejection control and approx-
  imate bayesian computation. Statistics and Computing, 22(6):1209–1222.

Polsby, D. D. and Popper, R. D. (1991). The third criterion: Compactness as a procedural safeguard against
  partisan gerrymandering. Yale Law & Policy Review, 9(2):301–353.

Tutte, W. T. (1984). Graph Theory. Addison-Wesley.

Vehtari, A., Gelman, A., Simpson, D., Carpenter, B., and Bürkner, P.-C. (2019). Rank-normalization, folding,
  and localization: An improved r for assessing convergence of mcmc. arxiv. arXiv preprint arXiv:1903.08008.

Wilson, D. B. (1996). Generating random spanning trees more quickly than the cover time. In Proceedings of
 the twenty-eighth annual ACM symposium on Theory of computing, pages 296–303.

Wu, L. C., Dou, J. X., Sleator, D., Frieze, A., and Miller, D. (2015). Impartial redistricting: A Markov Chain
 approach. arXiv preprint arXiv:1510.03247.




                                                       20
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 09/02/22                     Entry Number 344-5                    Page 23 of 29



A    Proofs of Propositions
Lemma 1. The probability of splitting a valid new district Gi from an existing area G
                                                                                    e i−1 using Algorithm 1 with
parameter ki ≥ Ki is

                               e i−1 , pop(Vi ) ∈ [P − , P + ]) = τ (Gi )τ (Gi ) |C(Gi , G
                                                                             e
                        q(Gi | G                    i     i
                                                                                         e i )|.                                    (4)
                                                                   τ (G
                                                                      e i−1 )ki

Proof. Any spanning tree can be decomposed into two other trees and an edge joining them. Let T ∪e∪T 0 denote
the spanning tree obtained by joining two other spanning trees, T and T 0 , with an edge e. Then Equation (3) can
be written as                         X           X
                  q(Gi | G
                         e i−1 ) =                                                      e i−1 )−1 .
                                                          q(Gi | T (1) ∪ e ∪ T (2) ) τ (G
                                     T (1) ∈T (Gi ) e∈C(T (1) ,T (2) )
                                     T (2) ∈T (G
                                               ei )

Now, q(Gi | T (1) ∪ e ∪ T (2) ) is determined by whether whether e∗ = e, i.e., if e is the edge selected to be cut.
If e has de in the top ki (if it induces one of the best ki balanced splits), then it has a 1/ki probability of being
selected in step (c) and cut. If de is not in the top ki , then this probability is zero.
    Everything written to this point holds regardless of whether Gi is a valid district (i.e., satisfies pop(Vi ) ∈
[Pi− , Pi+ ]). From here onwards we will restrict our attention to valid districts only. Notice that the forward-
looking bounds Pi− and Pi+ are stricter than merely ensuring dev(Gi ) ≤ D. That is, conditional on pop(Vi ) ∈
[Pi− , Pi+ ], we must also have dev(Gi ) ≤ D.
    Therefore, if a sorted edge ej in any spanning tree induces such a balanced partition, we must have j ≤ Ki ,
where as in the main text Ki counts the maximum number of such edges across all possible spanning trees. Thus,
so long as we set ki ≥ Ki , we will have de ≤ D.
    Furthermore, across all spanning trees T (1) ∈ T (Gi ) and T (2) ∈ T (G            e i ), and connecting edges e ∈
      (1)    (2)
E(T , T ), the value of de is constant, since removing e induces the same districting. Combining these
two facts, we have, conditional on satisfying the bounds Pi− and Pi+ ,

                           q(e∗ = e | T (1) ∪ e ∪ T (2) , pop(Vi ) ∈ [Pi− , Pi+ ]) = ki−1 ,

which does not depend on T (1) , T (2) , or e. We may therefore write the conditional sampling probability as

                          e i−1 , pop(Vi ) ∈ [P − , P + ]) =
                                                                             X                 X                 1
                   q(Gi | G                    i     i
                                                                                                            k τ (G
                                                                                          e∈C(T (1) ,T (2) ) i
                                                                                                                 e i−1 )
                                                                         T (1) ∈T (Gi )
                                                                         T (2) ∈T (G
                                                                                   ei )

                                                                         τ (Gi )τ (Gei )
                                                                  =                      |C(Gi , G
                                                                                                 e i )|,                            (8)
                                                                          τ (G
                                                                             e i−1 )ki

where as in the main text we let C(G, H) represent the set of edges joining nodes in a graph G to nodes in a
graph H.

Proposition 1. Let πS = Sj=1 w(j) δ[ξ(j) ] be the weighted particle approximation generated by Algorithm 2.
                          P
Then for all measurable h on unlabeled plans, as S → ∞,
                                √                                             d
                                    S(EπS [h([ξ])] − Eπ [h([ξ])]) −
                                                                  → N (0, VSMC (h)),

for some asymptotic variance VSMC (h).

    The proof proceeds by showing that the weights in Algorithm 2 are of a form derived from an existing SMC
algorithm with an established central limit theorem.



                                                                 21
3:21-cv-03302-MGL-TJH-RMG                         Date Filed 09/02/22                  Entry Number 344-5           Page 24 of 29



Proof. We can associate our target measure π([ξ]) on unlabeled redistricting plans with a corresponding measure
on labeled plans
                                           π̃(ξ) := ψ([ξ])−1 π([ξ]),
so that the pushfoward measure obtained by mapping ξ 7→ [ξ] recovers π.
    Our SMC algorithm will operate on labeled plans, targeting π̃, so that the resulting plans, when considered
as representatives of their corresponding unlabeled plans, will be representative of π in the sense given by the
theorem statement. Recall that a labeled redistricting plan ξ is just a tuple of graph partitions (G1 , G2 , . . . , Gn ).
We begin by extending π̃(ξ) to a series of measures on partial plans,
                                                               i
                                                               Y τ (Gj )ρ τ (G
                                                                             ej )
                                π̃i (G1 , G2 , . . . , Gi ) :∝                    1pop(Vj )∈[P − ,P + ]
                                                               j=1  τ (G
                                                                       e j−1 )                j    j


                                                                       i
                                                                       Y
                                                          ∝ τ (G
                                                               ej )         τ (Gj )ρ 1pop(Vj )∈[P − ,P + ] ,
                                                                                                      j    j
                                                                      j=1

for 1 ≤ i ≤ n − 2, and where we have simplified the telescoping product in the second equality. Recall that the
Ge i are determined completely by G1 , G2 , . . . , Gi .
     For i = n − 1, the above definition would yield
                                                        n−1
                                                        Y
          π̃n−1 (G1 , G2 , . . . , Gi ) ∝ τ (G
                                             e n−1 )          τ (Gj )ρ 1pop(Vj )∈[P − ,P + ] , = τ (ξ)τ (Gn )1−ρ 1dev(ξ)≤D ,
                                                                                       j   j
                                                        j=1

which is close to but not quite the target measure. So we instead define πn−1 := π̃; i.e., we add the additional
terms exp(−J(ξ)) and ψ([ξ]) and adjust for τ (Gn )1−ρ .
                                                                                  (j)
    With these partial-plan measures defined, notice that the incremental weight wi for partial plans with 1 ≤
i ≤ n − 2 and pop(Vj ) ∈ [Pj− , Pj+ ] may be written as
                             (j)            (j)                ki
                           wi      = τ (Gi )ρ−1              (j) e (j)
                                                     |C(Gi , Gi )|
                                           (j)
                                                                                                           !−1
                                       τ (Gi )ρ τ (G  e (j) ) τ (G(j) )τ (G  e (j) )           (j)
                                                                                       |C(Gi , G
                                                                                               e )|  (j)
                                                        i            i         i                 i
                                   =             (j)                     (j)
                                           τ (Gi−1 )
                                               e                    τ (Gi−1 )
                                                                       e                    ki
                                                                 π̃i (G1 , . . . , Gi )
                                   =                                                                         .                 (9)
                                       π̃i−1 (G1 , . . . , Gi−1 )q(Gi | G   e i−1 , pop(Vi ) ∈ [P − , P + ])
                                                                                                      i        i
For the final weighting at split i = n − 1, the incremental weight (i.e., not including the residual previous weights
Q            1−α
    n−2 (j)
    i=1  w i       given by step (c) of Algorithm 2 is
                                                     ρ−1
                                 (j)                (j)
             exp −J(ξ (j) ) wn−1 ψ([ξ])−1 τ (Gn−1 )
                                                                  π̃n−1 (G1 , . . . , Gn−1 )
                                   =                                                                           ,
                                       π̃n−2 (G1 , . . . , Gn−2 )q(Gn−1 | G e n−2 , pop(Vn−1 ) ∈ [P − , P + ])
                                                                                                   n−1   n−1
since this weight includes exactly the same additional terms as π̃n−1 mentioned above. So in fact Equation (9)
holds for all 1 ≤ i ≤ n − 1.
    These incremental weights are precisely those of the SMC partial rejection control algorithm of Peters et al.
(2012) (see also LeGland and Oudjane (2005)), with the weights set to zero for invalid samples and the partial
rejection threshold set to the minimum possible nonzero weight. So after pushing forward to unlabeled plans, we
gain immediately the theorem proved in that work (its Equation 6), viz., that for all measurable h on unlabeled
plans and as S → ∞, we have
                                √                               d
                                  S(EπS [h([ξ])] − Eπ [h([ξ])]) −
                                                                → N (0, VSMC (h)),
for asymptotic variance VSMC (h) given by Equation 7 of the same work.

                                                                     22
3:21-cv-03302-MGL-TJH-RMG                 Date Filed 09/02/22                                         Entry Number 344-5              Page 25 of 29



B    Additional Validation Example
This section reports the results of another validation study applied to a 50-precinct map taken from the state
of Florida. As in Section 5, we use the efficient enumeration algorithm of Fifield et al. (2020b) to obtain all
possible redistricting maps with three and four contiguous districts, and use these plans as a baseline to validate
the proposed algorithm. The left plot of Figure B.1 below shows the validation map.

                                                                                               0.35




                                                              Republican dissimilarity index
                                                                                               0.30



                                                                                               0.25



                                                                                               0.20



                                                                                               0.15



                                                                                               0.10

                                                                                                 0.800    0.825    0.850     0.875      0.900
                                                                                                             Fraction of edges kept

Figure B.1: The 50-precinct Florida map used for validation (left) and the joint distribution of Republican dis-
similarity and compactness on the map over all partitions into four districts with dev(ξ) ≤ 0.10 (right).

     There are 112,515,494 partitions of the map into four districts, 33,635 of which have dev(ξ) ≤ 0.10. We
evaluate the accuracy of the proposed algorithm, and compare it to the same MCMC algorithm used in Section 5,
across a range of target distributions, with ρ running from 0.8 to 1.2 The right plot of Figure B.1 shows the joint
distribution of compactness and the summary statistic we use for the validation, the Republican dissimilarity
index (Massey and Denton, 1988). With this validation map, Republican dissimilarity is reasonably sensitive to
the compactness of districts. This makes dissimilarity a good test statistic for comparing distributions that differ
primarily in their average compactness.
     For each target distribution, we sample 1,500 redistricting plans from both the SMC and MCMC algorithms,
and repeat the sampling four times in order to produce R̂ estimates. As in Section 5, the MCMC algorithm is
initialized with a random SMC-drawn map and first run for 500 warm-up iterations. To validate and compare
the samples, we reweight the enumerated redistricting plans by τ (ξ)ρ , and then produce quantile-quantile plots
of the Republican dissimilarity index, which are shown in Figure B.2.
     Across the range of ρ values, the agreement between the SMC sample and target distributions is excellent,
even in the lower tail. The R̂ values for the SMC algorithm were also all less than 1.003. The MCMC algorithm
fares well in general but has noticeable bias for ρ = 0.9 and ρ = 1.2, and has some additional misses for the
other target distributions as well, which manifest as small protuberances in the quantile-quantile plot. The R̂
values for the MCMC algorithm were all less than 1.004, indicating that the overall location and scale of the
Republican dissimilarity were estimated well, but R̂ is not designed to capture these smaller-scale deviations
from the target distribution.
     Here and in Section 5, we validated and compared the SMC and MCMC algorithms with several summary
statistics. This reflects the applied use case for redistricting analysis. But it is also informative to study how
well the SMC algorithm can target the actual distribution of plans themselves. Of course, we cannot expect
the algorithm to perform well in this regard if there are fewer samples then there are plans, which is the case
in almost all real-world problems. So we subset the enumerated plans to those with dev(ξ) ≤ 0.01, of which
there are just 38. We first generate 10,000 samples from the SMC algorithm, targeting a distribution with ρ = 1.


                                                        23
3:21-cv-03302-MGL-TJH-RMG                                                                       Date Filed 09/02/22                                 Entry Number 344-5                                       Page 26 of 29




                                     ρ = 0.8                                                                     ρ = 0.9                                                                   ρ=1
                              0.35                                                                        0.35                                                                      0.35
      Sampled dissimilarity




                                                                                  Sampled dissimilarity




                                                                                                                                                            Sampled dissimilarity
                              0.30
                                                                                                          0.30                                                                      0.30

                              0.25
                                                                                                          0.25
                                                                                                                                                                                    0.25
                              0.20
                                                                                                          0.20
                              0.15                                                                                                                                                  0.20

                                        0.15     0.20      0.25     0.30   0.35                                   0.15     0.20      0.25    0.30    0.35                                    0.20     0.25      0.30   0.35
                                               True dissimilarity                                                          True dissimilarity                                                    True dissimilarity

                                     ρ = 1.1                                                                     ρ = 1.2
                              0.35                                                                        0.35
      Sampled dissimilarity




                                                                                  Sampled dissimilarity


                              0.30                                                                        0.30                                                                                      Algorithm
                                                                                                                                                                                                         MCMC
                              0.25                                                                        0.25                                                                                           SMC



                              0.20                                                                        0.20

                                         0.20       0.25          0.30     0.35                                     0.20          0.25      0.30     0.35
                                               True dissimilarity                                                          True dissimilarity


Figure B.2: Quantile-quantile plots for 1,500 MCMC and SMC samples of Republican dissimilarity across a
range of target distributions with different compactness parameters ρ.


We measure the discrepancy between the sampled distribution of the 38 plans and the enumerated set weighted
to τ (ξ) with the total variation distance, which is 0.0178 for this sample. Increasing the sample size to 50,000
decreases the total variation distance to 0.0149.

C                    Algorithm Implementation Details
C.1                           Estimating Ki
A natural approach to estimating Ki is to draw a moderate number of spanning trees Ti ⊆ T (G       e i ) and compute
ok(T ) for each T ∈ Ti . The sample maximum, or the sample maximum plus some small buffer amount, would
then be an estimate of the true maximum K b i and an appropriate choice of ki . In practice, we find little noticeable
loss in algorithmic accuracy even if ki < Ki . The following proposition theoretically justifies this finding. As
above, de represents the population deviation of the district induced by removing edge e from a spanning tree.

Proposition 2. The probability q(e = e∗ | F), i.e., the probability that an edge e is selected to be cut at iteration
i, given that the tree T containing e has been drawn, and that e would induce a valid district, satisfies
                                                             
                                                         1                                1
                        max 0, q(de ≤ deki | F) 1 +          − 1 ≤ q(e = e∗ | F) ≤ ,
                                                        ki                                ki

where F is the σ-field generated by {T, pop(Vi ) ∈ [Pi− , Pi+ ]}.

Proof. We can write
                                                                                                                                                      1
                                                        q(e = e∗ | F) = q(e = e∗ , de ≤ deki | F) =                                                      q(de ≤ deki | F),
                                                                                                                                                      ki

                                                                                                                              24
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 09/02/22         Entry Number 344-5             Page 27 of 29



This holds because the edge e will not be cut unless de ≤ deki , i.e., if e is among the top ki edges. We then
have immediately that q(e = e∗ | F) ≤ ki−1 . Additionally, using the lower Fréchet inequality, we find the lower
bound

                    q(e = e∗ | F) = q(e = e∗ , de ≤ deki | F)
                                         n                                     o
                                  ≥ max 0, q(e = e∗ | F) + q(de ≤ deki | F) − 1
                                                                                  
                                               1
                                  = max 0, q(de ≤ deki | F) + q(de ≤ deki | F) − 1
                                              ki
                                                                       
                                                                 1
                                  = max 0, q(de ≤ deki | F) 1 +       −1 .
                                                                 ki

    If ki ≥ Ki , then q(e = e∗ | F) is exactly ki−1 , a fact which is used in the proof of Proposition 1. This result,
which is proved using a simple Fréchet bound, shows that as long as q(de ≤ deki | F) is close to 1, using ki−1 in
Proposition 1 is a good approximation to the true sampling probability.
    Having sampled Ti , we can compute for each value of k the sample proportion of trees where a randomly
selected edge e among the top k of edges of the tree is also among the top k for the other trees—in effect
estimating q(de ≤ deki | F). We may then choose ki to be the smallest k for which this proportion exceeds
a pre-set threshold (e.g., 0.99). We have found that this procedure, repeated at the beginning of each sampling
stage, efficiently selects ki without compromising the ability to sample from the target distribution.
C.2    Calculating ψ([ξ])
To calculate ψ([ξ]), we first observe that sequentially valid labelings of a particular unlabeled plan are in bijective
correspondence with certain increasing sequences of connected subgraphs of the quotient graph G/ξ. Specifi-
cally, as noted in the text, for every 1 ≤ i ≤ n − 1, the subgraph Ai := {i + 1, i + 2, . . . , n} of G/ξ is connected
if and only if ξ is a sequentially valid labeling. Let j = n − i; then the sequence Aj is increasing. Going from
Aj to Aj+1 for any j involves adding a vertex in G/ξ which is adjacent to Aj . This fact provides an easy scheme
to generate the number of sequentially valid labelings: for each vertex v in G/ξ, let A1 = {v}. Then pick a
neighbor of A1 and add it to the set to form A2 . Continue in this fashion until An−1 contains all but one vertex
of G/ξ. Undoing our bijection, this remaining vertex is labeled 1; the vertex added between An−2 and An−1 is
labeled 2, and so on.
    Figure C.3 illustrates this scheme on district-level graph for the Pennsylvania court-imposed plan. We pick
an arbitary vertex, denoted by “A” in Figure C.3(a). Then we pick a neighbor, denoted “B,” and add it to the
subgraph. We continue this way, adding the vertices indicated by the alphabetical ordering, until we have covered
the whole district-level graph. Then the last vertex added, “R,” is labeled 1 in the district labeling, as shown in
Figure C.3(b). Veretx “Q” is labeled 2, and so on, until vertex “A” is labeled 18. One can easily check that
this labeling is sequentially valid—at every point, the region of the map corresponding to unlabeled districts is
contiguous.
    As Section 4.4.2 mentioned, we adopt different strategies for calculating ψ([ξ]) when n ≤ 13 and n > 13.
When there are no more than 13 districts, we simply recurse down the tree of possibilities for generating all
sequentially valid plans. In the example of Figure C.3, we have 18 options for the first vertex in the subgraph.
Once we have picked vertex “A”, then we could add “B” or “C”. If we add “B”, then we could add “C”, “D”, or
“G”.
    Clearly this tree grows quite large very quickly. Fortunately, there are many duplicate nodes—in our example,
adding vertex B and then C in sequence produces the same subgraph as if we had added C and then B. Thus
by memoizing our counting function we can significantly reduce the number of tree branches we must explore
in full.
    When n > 13, it is no longer computationally feasible to perform the recursion for each sampled plan
in what will often be a large number of sampled plans. In these cases (it should be noted that for the 2020
redistricting cycle, only nine states had more than 13 districts), we can only estimate the number of sequentially
valid labelings. To do so, we generate a large number of random sequentially valid labelings by following the

                                                          25
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 09/02/22                 Entry Number 344-5           Page 28 of 29




   (a) Increasing subgraphs                                      (b) Sequentially valid labeling



       A                                                             18

                                   F                   H                                      13                    11
                  C                                                             16

                                               I       O                                                   10       4
      B                                                              17
           G                                               P              12                                             3
                                       J               M                                           9                6
           D            E                          L       RQ             15         14                         7        12
                                           K           N                                               8             5



Figure C.3: Schematic of the process to generate a sequentially valid labeling, using the district-level
graph for the Pennsylvania court-imposed plan. Subgraphs are built in alphabetical order in panel (a):
{A}, {A, B}, . . . , {A, B, . . . , Q}. This corresponds to a sequentially valid labeling shown in panel (b).


scheme outlined above, picking vertices of G/ξ to add to each Aj uniformly at random. Since we observe the
number of candidate vertices to add at each stage, and because each set of choices produces a unique sequentially
valid labeling, we can compute the probability of drawing each sequentially valid labeling directly.
    Denote the probability distribution created by this sampling scheme by psv , and the (not-probability) measure
which assigns mass 1 to all n! relabelings by µall . Our goal here is to estimate
                                      Z
                                          1{σ is sequentially valid}dµall (σ)

the total number of sequentially valid labelings. This can be done with our sample from psv , since it is supported
on precisely the same set for which the indicator function takes a value of 1. We need only take the mean of the
inverse of the probability of each sampled labeling.
    This importance sampling estimate is quite accurate, since the proposal support matches the target support
exactly, and there is not too much variation in the proposal probabilities. The estimate can be made arbitrarily
good by increasing the number of importance samples. In our software, we use on the order of 1,500 samples
                                                                 √
for n = 14, and more when n is larger (roughly growing with n).
    Finally, we note that the procedures used here to calculate ψ([ξ]) can also be applied to partial plans. Notating
this formally is more difficult, but a partial plan can be viewed as a (unbalanced) plan with fewer districts.
Calculating ψ for these partial plans and incorporating them into the SMC weights in Algorithm 2 improves
the sampling efficiency without changing the target distribution, as long as each partial ψ’s contribution to the
weights is canceled in the following iteration. This is the approach taken by our software implementation.
C.3    Stabilizing Importance Weights
When ρ 6= 1 or when the constraints imposed by J are severe, there can be substantial variance in the importance
sampling weights. For large maps with ρ = 0, for instance, the weights will generally span hundreds if not
thousands of orders of magnitude. This reflects the general computational difficulty in sampling uniformly
from constrained graph partitions. As Najt et al. (2019) show, sampling of node-balanced graph partitions is
computationally intractable in the worst case. In such cases, the importance sampling estimates will be highly
variable, and resampling based on these weights may lead to degenerate samples with only one unique map.
    When the importance weights are variable but not quite so extreme, we find it useful to truncate the nor-
malized final weights (such that their mean is 1) from above at a value wmax at the end of sampling. The
theoretical basis for this maneuver is provided by Ionides (2008), who proved that as long as wmax → ∞ and
wmax /S → 0 as S → ∞, the resulting estimates are consistent and have bounded variance (since the truncation
occurs only after the final SMC step, these conclusions, which were made in the context of importance sampling,

                                                                26
3:21-cv-03302-MGL-TJH-RMG                        Date Filed 09/02/22              Entry Number 344-5                 Page 29 of 29



carry over.) One such choice we have found to work well for the weights generated by this sampling process is
wmax = S 0.4 /100, though for particular maps other choices of exponent and constant multiplier may be superior.
    Truncation is no panacea, however. As with any method that relies on importance sampling, it is critical to
examine the distribution of importance weights to ensure that they will yield acceptable resamples.
C.4     Computational Complexity
The two asymptotically slowest steps of the SMC algorithm are computing τ (Gi ) for every district Gi and
drawing a spanning tree using Wilson’s algorithm for each iteration. All other steps, such as computing de and
      (j) e (j)                                                                                     4
|C(Gi , G   i )|, are linear in the number of vertices, and are repeated at most once per iteration. Computing
τ (Gi ) requires computing a determinant, which currently has computational complexity O(|Vi (ξ)|2.373 ) though
most implementations are O(|Vi (ξ)|3 ). Since this must be done for each district of size roughly m/n, the total
complexity for sampling one plan is O(n · (m/n)2.373 ). For the spanning trees, the expected runtime of Wilson’s
algorithm is the mean hitting time of the graph, which is O(m2 ) in the worst case. So the total complexity for
each sample is O(nm2 + m2.373 n−1.373 ). Note that when ρ = 1, we need not compute τ (Gi ), and the total
complexity is O(nm2 ).




   4
    To compute de , we walk depth-first over the tree and store, for each node, the total population of that node and the nodes below it.
This allows for O(1) computation of de for all edges.


                                                                  27
